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                                    10
                                    11                         UNITED STATES DISTRICT COURT
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                                    12                      SOUTHERN DISTRICT OF CALIFORNIA
                                    13   CHRIS BISSELL, individually and on            Case No. '24CV2286 AJB MMP
                                         behalf of all others similarly situated,
                                    14
                                                      Plaintiff,                       CLASS ACTION COMPLAINT
                                    15
                                               v.
                                    16
                                         AMERICAN HONDA MOTOR CO.,
                                    17   INC., and HONDA MOTOR
                                         COMPANY LIMITED,
                                    18
                                                      Defendants.                      JURY TRIAL DEMANDED
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                                    1         Plaintiff Chris Bissell (“Plaintiff”), individually and on behalf of the other
                                    2   members of the below-defined statewide class, which he respectively seeks to
                                    3   represent (“Class”), hereby alleges against Defendants American Honda Motor Co.,
                                    4   Inc. and Honda Motor Company Limited (together, “Honda”), upon personal
                                    5   knowledge as to himself and his own acts, and as to all other matters upon information
                                    6   and belief, based upon the investigation made by the undersigned attorneys, as
                                    7   follows:
                                    8                                 NATURE OF THE CASE
                                    9         1.     Honda manufactures and sells certain motor vehicles equipped with its
                                   10   high compression 1.5-liter i-VTEC turbocharged gasoline direct injection engine.
                                   11         2.     Turbocharged engines have advantages but come at a cost. They produce
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                                   12   far greater internal pressure and heat than naturally aspirated engines. As a result, they
                                   13   must be designed and manufactured with components that are tolerant of high-
                                   14   compression forces and heat, and must be adequately sealed and cooled to prevent
                                   15   internal component damage and engine failure.
                                   16         3.     For the vehicles equipped with the engines at issue, Honda failed to
                                   17   design vehicles that properly manage the increased compression and heat (the
                                   18   “Defect”). As a result, engine coolant leaches through and collects in the grooves on
                                   19   the engine’s cylinder head. The leached coolant then degrades the engine’s gasket,
                                   20   allowing coolant to leak into the Engine’s cylinders.
                                   21         4.     The coolant leaks cause three related problems. First, once the coolant
                                   22   leaks, an insufficient amount remains to adequately cool the engine, causing the
                                   23   engine to overheat, causing damage that includes warping, engine seizure, and fire.
                                   24         5.     Second, when the coolant leaks into the engine’s pistons, the engine
                                   25   misfires and loses motive power.
                                   26         6.     Third, the leaked coolant mixes with the engine oil, diluting and
                                   27   contaminating the oil, causing corrosion and excessive and premature engine wear.
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                                    1         7.        In addition to damaging the engine and reducing vehicle performance,
                                    2   the Defect creates a serious safety risk. For example, some owners have complained
                                    3   that their “car effectively lost power and [] was stuck coasting on a road where traffic
                                    4   regularly travels between 45-50+ mph,” and how the Defect stranded them “on the
                                    5   far left side of the highway near brick side wall and had to find a way to get to the
                                    6   right shoulder of the highway while in coming car passed by.”
                                    7         8.        The Defect is covered by Honda’s warranty, but Honda refuses to honor
                                    8   its warranty.
                                    9         9.        Moreover, Honda has not released or made freely available a
                                   10   countermeasure that adequately fixes the Defect.
                                   11         10.       The Class is defined as owners or lessees of 2018 to 2022 model year
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                                   12   Honda Accords, 2016 to 2022 model year Honda Civics, and 2017 to 2022 model
                                   13   year Honda CR-Vs equipped with the 1.5-liter i-VTEC turbocharged gasoline direct
                                   14   injection engine (the “Class Vehicles”).1
                                   15         11.       On behalf of himself and the Class, Plaintiff asserts claims against Honda
                                   16   for breach of express and implied warranties, violations of the Consumers Legal
                                   17   Remedies Act, violations of the California Unfair Competition Law, and unjust
                                   18   enrichment. Plaintiff seeks damages and equitable relief to compensate Plaintiff and
                                   19   the Class and to remedy the defect.
                                   20                                JURISDICTION AND VENUE
                                   21         12.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and
                                   22   pursuant to the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d), because at
                                   23   least one member of the Class is diverse in citizenship from one Defendant and the
                                   24   aggregate amount in controversy exceeds $5,000,000 and minimal diversity exists.
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                                               Plaintiff reserves the right to amend or add to the vehicle models and model
                                   28   years included in the definition of Class Vehicles.
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                                    1           13.   This Court has personal jurisdiction over American Honda Motor
                                    2   Company, Inc. because it is a California corporation with its corporate headquarters
                                    3   located in this district.
                                    4           14.   This Court has personal jurisdiction over Honda Motor Company Ltd.
                                    5   because Honda Motor Company Ltd. has purposefully availed itself of the privilege
                                    6   of doing business within California, including by marketing and selling the Class
                                    7   Vehicles, and exercising jurisdiction over Honda Motor Company Ltd. does not
                                    8   offend traditional notions of fair play and substantial justice.
                                    9           15.   Venue is proper in this district under 28 U.S.C. § 1391 because American
                                   10   Honda Motor Company, Inc. resides within this district and a substantial part of the
                                   11   events and omission giving rise to Plaintiffs’ claims occurred within this district.
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                                   12                                            PARTIES
                                   13           Plaintiff
                                   14           16.   Plaintiff Chris Bissel is a citizen of California and resides in Temecula,
                                   15   California.
                                   16           17.   Plaintiff Bissell owns a 2018 Honda Accord which he purchased
                                   17   certified pre-owned from DCH Honda in San Diego, California on November 30,
                                   18   2020.
                                   19           18.   Prior to purchasing his Honda, Plaintiff Bissell reviewed Honda’s
                                   20   promotional materials, the Monroney sticker, sales brochures, test drove the vehicle
                                   21   and interacted with at least one sales representative all without Honda disclosing the
                                   22   Engine Defect.
                                   23           19.   Through his exposure to Honda’s advertisements, promotional materials
                                   24   and other public statements, Plaintiff Bissell was aware of and believed Honda’s
                                   25   marketing message that its vehicles are safe and dependable, which was material to
                                   26   his decision to purchase his Class Vehicle.
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                                    1         20.    When he purchased the vehicle, he believed, based on Honda’s
                                    2   marketing message, that he would be in a safe and dependable vehicle, one that is
                                    3   safer and more dependable than other vehicles on the market.
                                    4         21.    At no point before Plaintiff Bissell purchased his vehicle did Honda
                                    5   disclose the Defect to him, including that as a result, the vehicle was not safe and
                                    6   dependable, as advertised.
                                    7         22.    Plaintiff Bissell’s vehicle was not safe and dependable. The Defect
                                    8   manifested in his vehicle. At approximately 87,000 odometer miles, Plaintiff
                                    9   experienced multiple dash warning lights, check engine light, and performance issues
                                   10   such as engine sputtering and vibration of the vehicle as it drove. He took the vehicle
                                   11   to an independent mechanic who eventually diagnosed the cause as leaking coolant
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                                   12   due to head gasket failure. Wary of the cost at a dealership, Plaintiff Bissell had his
                                   13   independent mechanic replace the head gasket on March 14, 2024. As he continued
                                   14   to have issues with the vehicle, he then took the vehicle to DCH Honda of Temecula,
                                   15   a certified Honda dealership, which confirmed the head gaskets had been an issue
                                   16   with vehicles like his. The Defect has created a dangerous condition that gives rise to
                                   17   a clear, substantial, and unreasonable risk of death or personal injury to Plaintiff
                                   18   Bissell, other occupants in his Class Vehicle, and others on the road.
                                   19         23.    Plaintiff Bissell’s Class Vehicle is not subject to any technical service
                                   20   bulletins, special service campaigns, or recalls for the Engine Defect, as further
                                   21   explained below.
                                   22         24.    As such, Plaintiff Bissell has been left without a remedy and, as a result
                                   23   of Honda’s conduct and the Engine Defect, is continuously exposed to an increased
                                   24   risk of severe injury or death.
                                   25         25.    Plaintiff Bissell did not receive the benefit of his bargain. He purchased
                                   26   a vehicle of a lesser standard, grade, and quality than represented, and he did not
                                   27   receive a vehicle that met ordinary and reasonable consumer expectations regarding
                                   28   safe and reliable operation.
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                                    1          26.   Had Honda disclosed the Engine Defect, Plaintiff Bissell would not have
                                    2   purchased his Class Vehicle or would have paid less to do so.
                                    3          27.   Plaintiff Bissell would purchase a vehicle from Honda in the future if
                                    4   Defendants’ representations about the vehicle, including its safety and durability,
                                    5   were accurate.
                                    6          Defendants
                                    7          28.   Defendant Honda Motor Company, Ltd. (“HML”) is a Japanese
                                    8   corporation, with its principal place of business at 2-1-1, Minami-Aoyama Minato-
                                    9   Ku, 107-8556 Japan, and the parent of Defendant American Honda Motor Company,
                                   10   Inc.
                                   11          29.   HML through its various entities (including American Honda Motor
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                                   12   Company), designs, manufacturers, markets, distributes, and sells Honda automobiles
                                   13   across the United States.
                                   14          30.   Defendant American Honda Motor Company, Inc. (“AHM”) is a
                                   15   California corporation with its principal place of business in Torrance, California.
                                   16          31.   AHM is the United States sales and marketing subsidiary of, and is
                                   17   wholly owned by, HML, and is responsible for distributing, marketing, selling, and
                                   18   servicing Honda vehicles in the United States, including the Class Vehicles.
                                   19          32.   At all relevant times, AHM manufactured and produced the defective
                                   20   engine blocks at the Anna, Ohio Honda engine plant.
                                   21          33.   At all relevant times, AHM acted as an authorized agent, representative,
                                   22   servant, employee, and/or alter ego of HML while performing activities, including
                                   23   but not limited to advertising, marketing, warranties, selling Class Vehicles,
                                   24   disseminating technical information, and monitoring Honda vehicles in the United
                                   25   States.
                                   26          34.   AHM renders services on behalf of HML that are sufficiently important
                                   27   to HML and its sale of vehicles in the United States that HML would perform those
                                   28   services itself if AHM did not exist.
                                                                                   5
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                                    1         35.    HML controls the public name and brand of AHM, and in consumer
                                    2   transactions, like those with Plaintiff and the proposed classes, HML’s unified brand
                                    3   and logo serve as its and AHM official seal and signature as to consumers.
                                    4         36.    HML operates AHM with a unity of interest and owners such that AHM
                                    5   is a mere instrumentality of its parent, HML.
                                    6         37.    HML and AHM engage in the same business enterprise and share
                                    7   common board members and employees. Upon information and belief, HML has, and
                                    8   at all relevant times had, the contractual right to exercise and in practice has exercised
                                    9   control over AHM’s work, including but not limited to the manner of Honda Class
                                   10   Vehicles’ marketing, the scope of written warranties, and representations made, and
                                   11   facts withheld from consumers and the public about the Engine Defect.
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                                   12         38.    At all relevant times to this action, HML and AHM manufactured,
                                   13   distributed, sold, leased, and/or warranted the Class Vehicles under the Honda brand
                                   14   name throughout the United States. Defendants and/or its agents designed,
                                   15   manufactured, and/or installed the defective engines and/or components in the Class
                                   16   Vehicles. Additionally, Honda developed and disseminated the owner’s manuals,
                                   17   warranty booklets, advertisements, maintenance schedule, and other promotional and
                                   18   technical matter relating to the Class Vehicles.
                                   19                  FACTS COMMON TO ALL CAUSES OF ACTION
                                   20         39.    Honda designs, manufactures, markets, and sells millions of vehicles
                                   21   worldwide, including the Class Vehicles, under the Honda and Acura brand names.
                                   22         40.    In 2023, Honda sold over 1.3 million vehicles in the United States.2
                                   23         41.    All Class Vehicles are equipped with a four-cylinder 1.5L turbocharged
                                   24   engine (the “Engine(s)”). The Engines are substantially similar and, for the purposes
                                   25   of this lawsuit, materially identical in all relevant respects.
                                   26
                                        2
                                             https://hondanews.com/en-US/releases/release-a463299e9046a088b8
                                   27   4018a7580565c4-american-honda-seals-2023-sales-momentum-with-strong-
                                   28   december-annual-sales-up-over-30
                                                                                     6
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                                    1         A.      History of Honda’s 1.5L Engine
                                    2         42.     In 1984, Honda introduced the D-series 1.5L naturally-aspirated engine
                                    3   (“D15”) for production in Honda-brand vehicles. Honda designed, manufactured,
                                    4   tested, and sold vehicles equipped with several variants of the D15 engine until it was
                                    5   discontinued in 2005.
                                    6         43.     Like the Class Vehicles’ Engines, Pre-Class Honda vehicles equipped
                                    7   with the D15 engines suffered from head gasket failures which caused engine coolant
                                    8   to leak through the cylinder head surface into the adjacent combustion chambers,
                                    9   leading to engine overheating and engine damage.3
                                   10         44.     On November 10, 1997, Honda acknowledged the defect in the D15
                                   11   engines when it released a technical service bulletin, TSB 97-047, which covered
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                                   12   model year 1988-1995 Honda Civic vehicles.4
                                   13         45.     In TSB 97-047, Honda explained “[the] head gasket leaks oil externally
                                   14   or allows coolant into the combustion chambers.” Id. Honda’s countermeasure to the
                                   15   D15 engine defect was a redesign of the cylinder head gasket and head bolts. Id.
                                   16         46.     Beginning in 2001, Honda introduced the successor to the D15 engine
                                   17   family, the L-Series 1.5L naturally-aspirated engine (“NA-L15”).
                                   18         47.     In 2013, Honda released two new variants of the NA-L15 engine, the
                                   19   L15B and L15C, which featured a dual overhead camshaft (“DOHC”) and variable
                                   20   timing control (“VTC”), and a new technology known as the “intelligent Variable
                                   21   Valve Timing and Lift Electronic Control,” or “i-VTEC.”
                                   22         48.     The i-VTEC is intended to optimize performance and fuel efficiency by
                                   23   dynamically adjusting the timing and lift of the engine's valves based on driving
                                   24   conditions.
                                   25
                                   26
                                   27   3
                                              See Exhibit A, TSB 97-047, dated November 10, 1997.
                                   28   4
                                              Id.
                                                                               7
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                                    1         49.       Honda’s L15B and L15C engines were plagued with engine issues from
                                    2   the start of production, including head gasket failure and VTC actuator failure, among
                                    3   other things.
                                    4         50.       Hundreds of owners and lessees of the Pre-Class Honda vehicles have
                                    5   filed complaints with the National Highway Traffic Safety Administration
                                    6   (“NHTSA”) and online concerning these failures.
                                    7         B.        The Engine in the Class Vehicles
                                    8         51.       In 2016, Honda debuted in the U.S. market the engine at issue, the 1.5-
                                    9   liter i-VTEC turbocharged gasoline direct injection engine (the “Engine”). The
                                   10   Engine features a single-scroll turbocharger, DOHC cylinder head, and dual-VTC.
                                   11         52.       According to Honda, the design changes to the Engine are significantly
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                                   12   different in many ways to the NA-L15.
                                   13         53.       The application of the dual VTC and single-scroll turbocharger enabled
                                   14   the engine to provide greater torque while possessing a smaller displacement than
                                   15   naturally aspirated engines.5
                                   16         54.       Overall, the engine weight was 30 kg lighter than a conventional
                                   17   naturally aspirated engine with the same output.6
                                   18         55.       As part of the design changes, the engines contain shallow-dish pistons,
                                   19   which consist of a curved surface and an upslope surface.7
                                   20         56.       These shallow-dish pistons work to produce double the kinetic energy
                                   21   compared to a naturally aspirated engine.8
                                   22
                                   23
                                   24
                                   25
                                   26   5
                                              Exhibit B (Honda R&D Technical Paper)
                                        6
                                   27         Id.
                                        7
                                              Id.
                                   28   8
                                              Id.
                                                                             8
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                                    1         57.     By using a wide overlap period for the intake and exhaust valves,
                                    2   residual gas is scavenged from the cylinder and funneled to the exhaust system.9 The
                                    3   flow of the scavenged gas works to increase the turbine speed of the engine.10
                                    4         58.     By utilizing the wide overlap period, the cylinder is allowed to fill more
                                    5   air charge and works to reduce knocking.11
                                    6         59.     These design changes result in the 1.5-liter i-VTEC turbocharged
                                    7   gasoline direct injection engine to produce a torque output that is about 30% higher
                                    8   than that of the previous NA-L15 engine design.12
                                    9         C.      The Engine Defect
                                   10         60.     The Class Vehicles suffer from a dangerous defect, placing Plaintiff and
                                   11   Class Members, as well as others on the road, at an increased risk of severe injury or
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                                   12   even death.
                                   13         61.     High compression, heat mitigation, and engine operating temperatures
                                   14   are critical concerns when designing and manufacturing an internal combustion
                                   15   engine.
                                   16         62.     Without proper heat mitigation and temperature control, the engine will
                                   17   overheat and cause critical damage to internal components and engine failure.
                                   18         63.     Similarly, excessive engine and cylinder pressure can cause pre-ignition,
                                   19   pre-detonation, and engine knocking, among other things, which damages the internal
                                   20   engine components, engine seals, including the head gasket, and can lead to
                                   21   catastrophic engine failure.
                                   22         64.     On information and belief, the Engine Defect results from the design
                                   23   and/or manufacturing of the engine block and cylinder head, including use of an
                                   24   inadequate head gasket or other sealing compounds or characteristics on the cylinder
                                   25
                                   26   9
                                              Id.
                                        10
                                   27         Id.
                                        11
                                              Id.
                                   28   12
                                              Exhibit C, (Honda SAE Technical Paper).
                                                                               9
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                                    1   head. This design includes grooves at the point where the engine’s cylinder head
                                    2   attaches to the engine block, as seen below, circled for ease of view:
                                    3
                                    4
                                    5
                                    6
                                    7
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                                   10
                                   11
                                                       In a typical – non-defective – engine, liquid coolant circulates through
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                                   12         65.
                                   13   veins in the engine block and cylinder head to keep the engine cool and prevent
                                   14   overheating.
                                   15         66.      As the coolant circulates, heat is transferred from the engine block to the
                                   16   liquid coolant.
                                   17         67.      The liquid coolant then circulates to the radiator, where it is cooled and
                                   18   recirculated throughout the engine.
                                   19         68.      The liquid coolant is pressurized as it circulates, so all mating surfaces
                                   20   must be properly sealed to prevent liquid coolant from externally or internally leaking,
                                   21   causing the engines to overheat, damage internal components, and lead to catastrophic
                                   22   engine damage.
                                   23         69.      The Class Vehicles, however, fail to properly seal and contain the liquid
                                   24   coolant.
                                   25         70.      In Class Vehicles, the coolant leaches through and collects in the grooves
                                   26   on the cylinder head.
                                   27         71.      The coolant then degrades the Engine’s gasket, eventually resulting in
                                   28   the coolant leaking into the Engine’s cylinders.
                                                                                    10
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                                    1         72.    The coolant leaks cause three related problems. First, due to the leaking,
                                    2   insufficient coolant remains in the engine to properly cool it, which results in the
                                    3   engine overheating. The engine overheating can then cause catastrophic damage,
                                    4   including cracked cylinder heads from the excessive heat.
                                    5         73.    Engine overheating can also warp other internal components, such as
                                    6   pistons. In addition, when an overheated engine reaches a certain degree, the
                                    7   overheating causes a loss of oil viscosity, which may lead to complete engine seizure,
                                    8   and in some instances, engine fire.
                                    9         74.    Second, coolant leaking into cylinders can cause the engine to misfire
                                   10   and lose motive power.
                                   11         75.    Third, coolant that enters the cylinders can mix with the oil on the
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                                   12   cylinder walls, causing oil dilution and/or contamination, which in turn causes
                                   13   corrosion and excessive wear on bearings and other internal engine surfaces.
                                   14         76.    These failure modes can occur at low mileage and can cause catastrophic
                                   15   failure within warranty.
                                   16         77.    The Engine Defect creates a serious safety risk, because it renders the
                                   17   Class Vehicles unexpectedly inoperable without warning, preventing them from
                                   18   moving out of the way of oncoming danger or from moving with the flow of traffic.
                                   19         78.    Because of the grave risks the Engine Defect poses, a vehicle that suffers
                                   20   from the Engine Defect is not fit for its ordinary purpose and does not pass without
                                   21   objection in the trade, and renders the Class Vehicles substantially less drivable,
                                   22   useable, safe, and valuable. This is especially true for the Class Vehicles, which were
                                   23   marketed as safe and reliable family vehicles.
                                   24         79.    Honda has publicly acknowledged the Engine Defect through
                                   25   Manufacturer Communications to Honda dealerships first issued in 2017,13 as well as
                                   26   cheap design changes made by Honda in 2020 as an attempt to eliminate the Engine
                                   27
                                   28   13
                                              See Exhibits D-F.
                                                                                  11
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                                    1   Defect, including changes to the head gasket.14 However, these design changes failed
                                    2   to address and remedy the Engine Defect.
                                    3         D.     Honda’s Knowledge of the Engine Defect and Associated Safety
                                    4                Risks

                                    5         80.    Honda fraudulently, intentionally, negligently, and/or recklessly
                                    6   concealed from Plaintiff and Class Members the Engine Defect in the Class Vehicles,
                                    7   even though Honda knew or should have known of the design and/or manufacturing
                                    8   defects in the Class Vehicles.
                                    9         81.    Honda became aware of the Engine Defect through sources not available
                                   10   to Plaintiff and the other members of the Class, including, but not limited to: pre-
                                   11   production testing, pre-production design failure mode and analysis data, production
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                                   12   design failure mode and analysis data, early consumer complaints made exclusively
                                   13   to Honda’s network of dealers and directly to Honda, aggregate warranty data
                                   14   compiled from Honda’s network of dealers, testing conducted by Honda in response
                                   15   to consumer complaints, repair order and parts data received by Honda from Honda’s
                                   16   network of dealers and suppliers, its investigation and field analysis of the Engine
                                   17   Defect; and its investigation and root cause analysis of failures in pre-Class Vehicles.
                                   18         82.    Despite its exclusive, actual knowledge, Honda has not recalled the Class
                                   19   Vehicles or provided an adequate remedy for Plaintiff and all other Class Members.
                                   20                1.     Pre-Release Testing
                                   21         83.    Honda knew or should have known about the Engine Defect from the
                                   22   testing performed on the Engines and its’ components. Prior to the sale of any of the
                                   23   Class Vehicles, Honda–like any other reasonable Original Equipment Manufacturer
                                   24   (OEM) seeking to manufacture and sell vehicles on the U.S. market–completed a
                                   25   multitude of analyses and testing that exposed the existence of the Engine Defect.
                                   26
                                   27   14
                                              https://www.hondapartsnow.com/genuine/honda~gasket~cylinder~head~
                                   28   nippon~leakless~12251-6a0-a01.html
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                                    1         84.    Honda and its suppliers, perform various pre-production testing on new
                                    2   vehicle components, including most notably Failure Modes and Effects Analysis
                                    3   (“FMEA”) and Design Validation Plan and Report (“DVP&R”).
                                    4         85.    Honda and its suppliers performed these tests, and others, on the Class
                                    5   Vehicles and, if performed with due care, each of these tests demonstrated that the
                                    6   relevant systems or components in the Class Vehicles would lead to failure of the
                                    7   Engines.
                                    8         86.    FMEA tests methods or modes by which a particular component might
                                    9   fail. It examines the design of each component, the assembly of the part, and whether
                                   10   use in various manners would cause the part or system to fail. For example, in testing
                                   11   the systems at issue here, FMEA testing would explore, among other things, how and
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                                   12   under what conditions the Engines and their components could fail, how likely failure
                                   13   was under different conditions, and how likely each condition tested was to occur.
                                   14         87.    The purpose of the FMEA is to define, based on known and established
                                   15   engineering facts like those asserted by Defendants, potential risks of failures and
                                   16   rank them by severity, likelihood and ability to detect failure. Any conditions resulting
                                   17   in failure, like those associated with the Engine Defect would result in a “high risk”
                                   18   priority and draw additional and more extensive analysis and validation testing during
                                   19   the FMEA and DVP&R phases. Given the reports of Engine failures after sale, these
                                   20   processes were designed to show the various modes of failure caused by the Engine
                                   21   Defect and confirm what Defendants already knew about the Engine Defect.
                                   22         88.    The DVP&R phase includes an extensive battery of tests and other work
                                   23   necessary to validate the robustness of any design and includes three basic types of
                                   24   testing: bench scale, dynamometer, and vehicle/field testing. This testing is discussed
                                   25   below.
                                   26         89.    Bench scale testing is component-specific and establishes a strict set of
                                   27   specifications and guidelines to ensure that the component will operate reliably and
                                   28   durably in foreseeable operating conditions. During this phase of testing, Defendants’
                                                                                   13
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                                    1   Engine was “bench tested,” that is, set up on various machinery to simulate certain
                                    2   operating extremities and conditions to confirm whether it meets the necessary
                                    3   specifications and guidelines set by the supplier in coordination with Defendants.
                                    4   Discovery is expected to reveal that Defendants received the detailed results of the
                                    5   bench testing and resulting Technical Control Documents (TCDs) which outline the
                                    6   operating limitations of Defendants’ Engine along with the potential risks associated
                                    7   with installation in the Class Vehicles, including the Engine Defect. Similarly,
                                    8   discovery is expected to show that bench testing of the Engines confirmed what
                                    9   Defendants already knew about its design choice or its workmanship and materials—
                                   10   that the Engines fail to operate as intended and prematurely fails.
                                   11         90.    Dynamometer testing is one of the most important types of testing to
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                                   12   ensure durability and performance of the powertrain and its components. In the
                                   13   dynamometer test, the powertrain is operated under extreme conditions such as
                                   14   maximum temperatures, RPMs, or excessive vibration. Dynamometer testing is
                                   15   intended to demonstrate powertrain robustness and reveal necessary improvements or
                                   16   flaws, such as the Engine Defect. Discovery is expected to confirm that dynamometer
                                   17   testing revealed the Engines were poorly designed and manufactured, suffered from
                                   18   premature degradation, underperformance, and, ultimately, catastrophic failure.
                                   19         91.    Honda and its suppliers also performed computer and real-world
                                   20   simulations of the systems, including in extreme conditions, to confirm they are
                                   21   meeting the design goals. Honda tested the Engines in actual vehicles, both prototype
                                   22   vehicles and pre-production line vehicles. In these tests, vehicles are driven through
                                   23   a full range of conditions and extremities that are encountered once a vehicle is sold
                                   24   to the public. These vehicle-specific development tests include mapping extreme
                                   25   operating conditions, which are the kinds of modes that manifest the Engine Defect.
                                   26         92.    Through the rigors of these three phases of DVP&R testing, Defendants’
                                   27   Engines were exposed repeatedly to conditions that cause the Engine Defect to
                                   28   manifest.
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                                    1         93.    Defendants admit they perform extensive pre-release testing of the Class
                                    2   Vehicles before they are sold.15
                                    3         94.    During this testing, Honda learned that the Class Vehicles’ Engines
                                    4   grossly underperform and suffer internal component damage and failure. However,
                                    5   due to the costs of redesigning and fixing the Engines, Honda opted to conceal the
                                    6   Engine Defect.
                                    7         95.    Honda knew or should have known that the Engine Defect was material
                                    8   to owners or lessees of the Class Vehicles and that Plaintiff and Class Members could
                                    9   not reasonably discover the Engine Defect on their own prior to purchasing or leasing
                                   10   the Class Vehicles.
                                   11         96.    Honda had and continues to have a duty to fully disclose the true nature
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                                   12   of the Engine Defect to Plaintiff and Class Members, among other reasons, because
                                   13   the Engine Defect poses an unreasonable safety hazard; because Honda had and has
                                   14   exclusive knowledge or access to material facts about the Class Vehicles’ Engines
                                   15   that were and are not known to or reasonably discoverable by Plaintiff and the other
                                   16   members of the Class; and because Honda has actively concealed the Engine Defect
                                   17   from its customers at the time of purchase or repair and thereafter.
                                   18         97.    Specifically, Honda (a) failed to disclose, at the time of purchase or
                                   19   repair and thereafter, any and all known material defects or material nonconformities
                                   20   of the Class Vehicles, including the Engine Defect; (b) failed to disclose, at the time
                                   21   of purchase or repair and thereafter, that the Class Vehicles and their Engines were
                                   22   not in good working order, were defective and prone to failure, and were not fit for
                                   23   their intended purpose; and (c) failed to disclose and actively concealed the fact that
                                   24   the Class Vehicles and their Engines were defective, despite the fact that Honda
                                   25   learned of the Engine Defect before it placed the Class Vehicles in the stream of
                                   26   commerce.
                                   27
                                   28   15
                                              https://hondainamerica.com/news/honda-proving-center-returns-operation/
                                                                               15
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                                    1         98.    The Engine Defect and its associated safety risks were concealed and
                                    2   actively suppressed in order to protect Honda’s corporate profits from loss of sales,
                                    3   purchase refunds, warranty repairs, adverse publicity, and brand disengagement.
                                    4   Consumers were misled into believing their Class Vehicles had different qualities
                                    5   than what they purchased or leased, and as a result, were deprived of economic value,
                                    6   the benefit of their bargain, and overpaid for their Class Vehicles.
                                    7         99.    At all relevant times, in promotional materials, advertisements, and other
                                    8   representations, Honda and its authorized Dealers maintained that the Class Vehicles
                                    9   were safe, reliable, and made no reference to the Engine Defect. Plaintiff and Class
                                   10   Members, directly, and indirectly, were exposed to, saw or heard such promotional
                                   11   materials and advertisements prior to purchasing or leasing the Class Vehicles.
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                                   12   Indeed, these misleading representations about the Class Vehicles’ reliability and
                                   13   safety were material to Plaintiff’s and Class Members’ ultimate decision to purchase
                                   14   or lease the Class Vehicles.
                                   15         100. Notwithstanding Honda’s superior and exclusive knowledge of the
                                   16   Engine Defect, it failed to disclose the Engine Defect to Plaintiff and Class Members
                                   17   at the time of purchase or lease of the Class Vehicles and made no mention of the
                                   18   Engine Defect in its advertisements, promotional materials, and other representations.
                                   19                2.    Consumer Complaints
                                   20         101. Federal law requires Honda to monitor defects that can cause a safety
                                   21   issue and report them within five (5) days to NHTSA. Therefore, Honda regularly
                                   22   monitors NHTSA complaints to meet reporting requirements under federal law.
                                   23   Honda, therefore, has knowledge of the Engine Defect due to the numerous consumer
                                   24   complaints, such as those made to NHTSA, as well as by other means.
                                   25         102. Honda has admitted it routinely monitors these data sources to monitor
                                   26   product performance. See In re Honda Idle Stop Litigation, 22-cv-04252-MCS-SK
                                   27   (C.D. Cal.), Doc. No. 137-1, Page ID #:4744.
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                                    1         103. Consumers who purchased or leased Class Vehicles from Honda, as well
                                    2   as owners and lessees of pre-Class Honda vehicles, have filed a significant number of
                                    3   complaints with the National Highway Traffic Safety Administration (“NHTSA”),
                                    4   reporting and detailing the Engine Defect.
                                    5         104. Honda knew or should have known about the Engine Defect and its
                                    6   associated risks through the numerous consumer complaints filed with NHTSA as
                                    7   early as 2016. See TREAD Act, Pub. L. No. 106-414, 114 Stat. 1800 (2000).
                                    8         105. The following example complaints16 filed by consumers with NHTSA
                                    9   demonstrate that the Engine Defect is a widespread safety hazard that plagued pre-
                                   10   Class vehicles and continues to plague the Class Vehicles:
                                   11         106. On September 26, 2024, the owner of a 2018 Honda Accord submitted
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                                   12   the following complaint to NHTSA:17
                                   13         My head gasket went out while I was driving down the road at around
                                              68425 miles. The result was that the car threw a bunch of error codes and
                                   14
                                              went into limp mode while on the highway. I was fortunately able to pull
                                   15         off into a parking lot due to low traffic at that time of day but it was a
                                              major road that is full of vehicles during a busy time of day. This was a
                                   16
                                              safety issue because my car effectively lost power and I was stuck
                                   17         coasting on a road where traffic regularly travels between 45-50+ mph.
                                              The head gasket failure was confirmed by the local Honda dealer and
                                   18
                                              was replaced under warranty (certified pre-owned).
                                   19
                                              107. On August 13, 2024, the owner of a 2020 Honda Accord submitted the
                                   20
                                        following complaint to NHTSA:18
                                   21
                                              Rough start then temperature fluctuates. Coolant is disappearing cause a
                                   22         head gasket problem. This has been known for the 2018-2020 yrs
                                   23         Accord.
                                   24
                                   25
                                   26   16
                                              All NHTSA complaints included in this Complaint are complete and verbatim
                                   27   copies pulled directly from NHTSA’s website.
                                        17
                                              NHTSA ID: 11614854.
                                   28   18
                                              NHTSA ID: 11608357.
                                                                              17
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                                    1        108. On August 5, 2024, the owner of a 2018 Honda Accord submitted the
                                    2   following complaint to NHTSA:19
                                    3                       Blown head gasket confirmed by dealer.
                                    4        109. On August 4, 2024, the owner of a 2018 Honda Accord submitted the
                                    5   following complaint to NHTSA:20
                                    6        Bought the vehicle in 2022 with 90k miles on it. Started experience
                                             engine issues shortly after. Engine light and ALL the dash lights came
                                    7
                                             on. Changed spark plugs 4x and coils replaced fuel injectors over the
                                    8        years. Still the lights and engine light comes on. Turns out I have a
                                             blown head gasket at just 130k miles. Did routine maintenance on it and
                                    9
                                             changed water pump . I’ve never had this many issues with a car and I’m
                                   10        quiete upset. The years of head ache is never ending.
                                   11        110. On July 8, 2024, the owner of a 2019 Honda Accord submitted the
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                                   12   following complaint to NHTSA:21
                                   13        The head gasket on the engine has blown at only 94,000 miles. Car
                                   14        overheated on the side of the freeway and I took it to the dealership.
                                             Dealer confirmed that the head gasket was leaking. Check engine light
                                   15        and a temp warning came on as the car overheated.
                                   16
                                             111. On July 8, 2024, the owner of a 2020 Honda Accord submitted the
                                   17
                                        following complaint to NHTSA:22
                                   18
                                             During medium acceleration the vehicle engine lost power and all the
                                   19        instrument panel warnings went off. Dealership said a blow head gasket.
                                   20        There are many threads online saying that there needs to be something
                                             done because the Honda 1.5 turbo motors are blowing head gaskets
                                   21        prematurely under 100k miles. Mine 2020 Accord has 108k and has been
                                   22        driven with care as I’m a middle aged male commuting to and from work
                                             with the car. Some sort of investigation needs to be done to show there
                                   23        is either a design flaw or a gasket flaw.
                                   24
                                   25
                                   26   19
                                             NHTSA ID: 11606383.
                                        20
                                   27        NHTSA ID: 11606322.
                                        21
                                             NHTSA ID: 11601606.
                                   28   22
                                             NHTSA ID: 11600120.
                                                                               18
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                                    1        112. On July 4, 2024 the owner of a 2018 Honda Accord submitted the
                                    2   following complaint to NHTSA:23
                                    3        My vehicle head engine gasket blow while driving on the highway. I was
                                             on the far left side of the highway near brick side wall and had to find a
                                    4
                                             way to get to the right shoulder of the highway while in coming car
                                    5        passed by. I’m just upset cause I kept telling Honda dealership something
                                             was wrong with my engine every time I went in for a oil change for the
                                    6
                                             past 2 years and they ignored my concern and told me nothing was
                                    7        wrong. I just can’t believe Honda a trusted automotive company would
                                             have this type of issue without having a recall available for their
                                    8
                                             customers. And I read into the issue and I’m not the only person with this
                                    9        issue. That’s not right at all. They need to do better.
                                   10        113. On July 1, 2024, the owner of a 2018 Honda Accord submitted the
                                   11   following complaint to NHTSA:24
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                                   12        Engine overheated and turns out we have a blown head gasket. The
                                   13        problem escalated quickly from and "your engine may be warm"
                                             messages to "Do not drive!" messages. We tried to stop and cool it off
                                   14        when that message happened. To me the safety issue comes with the
                                   15        experience of needing to urgently find a place to stop while driving on a
                                             busy road (interstate for us) so the engine doesn't get much worse. Car is
                                   16        currently at a Honda dealer to assess the damage to the engine.
                                   17
                                             114. On June 20, 2024, the owner of a 2018 Honda Accord submitted the
                                   18
                                        following complaint to NHTSA:25
                                   19
                                                                       Blown Head Gasket.
                                   20
                                             115. On June 20, 2024, the owner of a 2018 Honda Accord submitted the
                                   21
                                        following complaint to NHTSA:26
                                   22
                                             Head gasket and fuel injector. Causing stalling of the vehicle. Over
                                   23        heating. Have almost been hit with my kids in the car from stalling.
                                   24        Honda has confirmed this and the car has only 125k miles. This is
                                             COMMON in this car and should be recalled before someone is killed.
                                   25
                                   26   23
                                             NHTSA ID: 11598856.
                                        24
                                   27        NHTSA ID: 11598856.
                                        25
                                             NHTSA ID: 11595432.
                                   28   26
                                             NHTSA ID: 11595585.
                                                                                19
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                                    1        In this economy who can afford 5500 dollars on a car that isn’t old to fix?
                                             I have driven all my past vehicles into 200k miles and never had these
                                    2
                                             issues and have taken much better care of this car.
                                    3
                                             116. On June 5, 2024, the owner of a 2018 Honda Accord submitted the
                                    4
                                        following complaint to NHTSA:27
                                    5
                                             I got a blown head gasket to cynlinder #3 at under 100k miles. I maintain
                                    6        it regularly as needed by use of the maintenance minder. Never got any
                                    7        indication of engine troubles before. On doing some research this seems
                                             to be a common problem for this make and model and seems to be a
                                    8        possible defect. The repair was $4300 to repair the head gasket.
                                    9
                                             117. On June 4, 2024, the owner of a 2018 Honda Accord submitted the
                                   10
                                        following complaint to NHTSA:28
                                   11
                                             Drove to work, about 35 miles. Few hours later went to leave to get a cup
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                                   12        of coffee, started car and ALL lights came on dash and seems like every
                                   13        feature cycled through indicated nonfunctional. Drove to
                                             dealership, head gasket leak and piston misfiring, $4200. Car is a 2018
                                   14        Honda Accord EX-L with 62000 miles. Seems strange to have such an
                                   15        extensive issue with a honda with such low miles. Can you investigate.
                                             Thanks.
                                   16
                                             118. On June 4, 2024, the owner of a 2018 Honda Accord submitted the
                                   17
                                        following complaint to NHTSA:29
                                   18
                                             Blown head gasket due to the new 1.5L engine Honda started making on
                                   19        the 2018 models.
                                   20
                                             119. On June 2, 2024, the owner of a 2018 Honda Accord submitted the
                                   21
                                        following complaint to NHTSA:30
                                   22
                                             Head Gasket Failure diagnosed by Honda city in New York. The purpose
                                   23        of the diagnostic was to address what I believed to be issues related to
                                   24        the ongoing Fuel Pump recall, as discussed with an American Honda
                                             representative prior to my visit. The symptoms I had been experiencing
                                   25
                                   26   27
                                             NHTSA ID: 11592678.
                                        28
                                   27        NHTSA ID: 11593633.
                                        29
                                             NHTSA ID: 11592317.
                                   28   30
                                             NHTSA ID: 11592014.
                                                                                 20
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                                    1        included intermittent stalling or loss of power, what prompted me to
                                             reach out immediately was an instance on a highway where the engine
                                    2
                                             lost all power, prompting us to pull over to the side of the road, This
                                    3        could have been a much worse outcome. Additionally, I have noticed
                                             occasional trembling upon startup. Per the Service department the
                                    4
                                             conclusion of the diagnostic was that the coolant was low due to washing
                                    5        the      piston     heads      and cylinder walls      and     ultimately
                                             the head gasket needed to be replaced along with spark plugs.The total
                                    6
                                             costs for these services amount to about $4,800. To provide further
                                    7        context, the coolant was last replaced on [XXX] 2024. The first issues
                                    8        began to arise in mid-February when the digital gauge displayed at least
                                             8 warnings across various systems. [XXX], 2024 the car was brought in
                                    9        for more maintenance and further investigation into the warnings.
                                   10        Nothing came about here as the issue couldn't be reproduced and no
                                             action was taken. I feel as though there was nothing more I could have
                                   11        done to prevent this situation. The car has a pristine maintenance record
                                             and has just over 42,000 miles after a little over 5 years of ownership ,
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                                   12
                                             an average of 15-20 miles a day. After researching on my own, Ive found
                                   13        this to be much more common issue for the 2018 1.5 accords along with
                                   14        other models. INFORMATION REDACTED PURSUANT TO THE
                                             FREEDOM OF INFORMATION ACT (FOIA), 5 U.S.C. 552(B)(6).
                                   15
                                             120. On May 23, 2024, the owner of a 2018 Honda Accord submitted the
                                   16
                                        following complaint to NHTSA:31
                                   17
                                             My 2018 Honda Accord began malfunctioning on [XXX]. It completely
                                   18        stalled out and all of the warning lights came on. The vehicle was being
                                   19        driven and began to shudder upon acceleration at just 15 mph. The
                                             vehicle ended up seizing and lost all acceleration capabilities. The
                                   20        vehicle was able to be pulled over at idle speed and had trouble starting.
                                   21        once I got the car to start, I was able to drive the vehicle into a safe
                                             parking lot but only at idle speed as the acceleration was not functioning.
                                   22        I had received the fuel pump recall and had the car towed to Brandon
                                   23        Honda in Brandon FL, and they determined it was not a fuel pump failure
                                             but a blown head gasket. I also received a second opinion that confirmed
                                   24
                                             this diagnosis and determined the issue to be the blown head gasket
                                   25        causing coolant to mix with my oil and leak into spark plugs causing
                                             spark plug 3 to fail as well. Upon replacement of the spark plug, the car
                                   26
                                             functions once again with acceleration capabilities, however, to prevent
                                   27
                                   28   31
                                             NHTSA ID: 11584701.
                                                                                 21
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                                    1        any further damage, I had the car towed back to my place of residence.
                                             Upon further investigation, I am finding more people experiencing this
                                    2
                                             issue with their new Honda Accords as well. The head gasket should not
                                    3        fail this early on in owning this vehicle especially being the only owner
                                             of this vehicle and only 130k miles. I have always kept up with coolant
                                    4
                                             levels, and oil changes, and used the recommended octane by Honda, 87.
                                    5        Repair still has not been made as I am exploring all of my options,
                                             however, if this malfunction had happened on the interstate, it could have
                                    6
                                             been fatal. INFORMATION REDACTED PURSUANT TO THE
                                    7        FREEDOM OF INFORMATION ACT (FOIA), 5 U.S.C. 552(B)(6).
                                    8        121. On May 14, 2024, the owner of a 2018 Honda Accord submitted the
                                    9   following complaint to NHTSA:32
                                   10        All warning systems triggered, repeatedly, over the past year. Honda
                                   11        dealership misdiagnosed as a fuel injector. Had fuel injector replaced, but
                                             same issue occurred and this time all warnings came on and vehicle lost
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                                   12        power on highway with my baby daughter inside. So, after spending
                                   13        thousands attempting to resolve the issue, I towed again to Honda and it
                                             was correctly diagnosed as a failed head gasket requiring $5.5K to
                                   14        repair. Service advisor said he's seen "many of these" recently. Called
                                   15        around Tampa and all mechanics advise (consistent with numerous
                                             complaints online car communities) failed head gasket is a known and
                                   16        common safety issue (to the extent that parts are on backorder as a result
                                   17        of repairs). Called American Honda Corporation and they led me to
                                             believe they would repair, but after an hour of wasting my time, and
                                   18        repeated requests to hold so agent could speak with supervisor, agent
                                   19        then said repeatedly "there is nothing we can do for you." This abject
                                             safety failure and demonstrated bad faith should not be allowed by
                                   20        regulators who have a duty to mandate that auto manufacturers do the
                                   21        right thing and issue safety recalls for known issues such as
                                             the head gasket failure I have experienced.
                                   22
                                   23        122. On May 2, 2024, the owner of a 2018 Honda Accord submitted the

                                   24   following complaint to NHTSA:33

                                   25                  Engine stall while driving, and blown engine gasket.

                                   26
                                   27   32
                                             NHTSA ID: 11588703.
                                   28   33
                                             NHTSA ID: 11586583.
                                                                                 22
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                                    1        123. On April 18, 2024, the owner of a 2019 Honda Accord submitted the
                                    2   following complaint to NHTSA:34
                                    3        Head Gasket developed holes at 70,000 miles despite all recommended
                                             maintenance completed. This can cause serious engine damage which
                                    4
                                             can lead to multiple safety issues.
                                    5
                                             124. On April 14, 2024, the owner of a 2017 Honda CR-V submitted the
                                    6
                                        following complaint to NHTSA:35
                                    7
                                             I was driving my Honda CRV 2017 on I-65 in Birmingham -
                                    8        Montgomery area in Alabama in March 2024 and suddenly in the middle
                                    9        of the busy highway the vehicle stalled and wouldn’t drive even after
                                             stepping on the accelerator a little harder. I then turned on my emergency
                                   10        lights to signal to the behind vehicles that I have and emergency situation
                                   11        became I was in the middle of a busy highway and the vehicle simply
                                             wouldn’t drive. I managed to pull aside of the highway and turned the
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                                   12        engine off because I didn’t know what the issue was. After a few minutes
                                   13        I started the vehicle again and drove a few miles and the vehicle stalled
                                             again. After a couple of repeated cycle, I got the vehicle to a nearby
                                   14        Honda dealership for diagnostic testing which later revealed that the fuel
                                   15        injectors, the head gasket, the turbo system etc were causing the vehicle
                                             to stall. The vehicle is currently not drivable and has since been with the
                                   16        Honda dealership as I am writing. With taxes, the dealership is charging
                                   17        me approximately $5000 USD to fix this problem, money that I cannot
                                             afford. Not knowing what to do, I did a brief research to see if anyone
                                   18        else has experienced this issue before and I found out in the consumer
                                   19        report that other drivers have actually experienced exactly the same issue
                                             that happened to my vehicle. I currently do not have any additional
                                   20        vehicle for commuting and I am forced to use rented vehicles with the
                                   21        rental cost accumulating on the daily basis while my vehicle remains with
                                             the dealership. I am therefore writing this notification for Honda to look
                                   22        into this potentially risk safety incidence and help Honda CRV owners
                                   23        and myself get this problem fixed because such experience doesn’t boost
                                             consumer confidence for both current and future Honda CRV owners.
                                   24        Thanks
                                   25
                                   26
                                   27   34
                                             NHTSA ID: 11583859.
                                   28   35
                                             NHTSA ID: 11582838.
                                                                                 23
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                                    1        125. On March 13, 2024, the owner of a 2018 Honda Accord submitted the
                                    2   following complaint to NHTSA:36
                                    3        Blown head gasket.Car is hesitating/ jerking. Dealership wants 7k to get
                                             it fixed.
                                    4
                                    5        126. On March 8, 2024, the owner of a2018 Honda Accord submitted the
                                    6   following complaint to NHTSA:37
                                    7                                   Head Gasket Failure.
                                    8        127. On February 22, 2024, the owner of a 2018 Honda Accord submitted the
                                    9   following complaint to NHTSA:38
                                   10            Cylinder head gasket and cylinders misfire; also loosing coolant.
                                   11        128. On February 9, 2024, the owner of a 2018 Honda Accord submitted the
                                        following complaint to NHTSA:39
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                                   12
                                   13        This 1.5T has had alot of complaints about head gaskets going out. 50K
                                             miles i had it headgaskey went bad.
                                   14
                                             129. On January 30, 2024, the owner of a 2017 Honda CR-V submitted the
                                   15
                                        following complaint to NHTSA:40
                                   16
                                             While driving the car it began to spit and sputter and lost power to the
                                   17
                                             point I had to pull out of traffic to the shoulder, stop, and turn hazard
                                   18        lights on. While there I turned the car off and restarted it. I began to enter
                                             back into traffic, got to about 10-15 mph and all of a sudden the car ran
                                   19
                                             choppy and every light came on the dash displaying a problem with every
                                   20        function of the car. My husband works about a mile from where I was so
                                   21        I drove from where it happened to his workplace. From there the phone
                                             calls began to obtain a tow to the dealership. Diagnostic results said head
                                   22        gasket was leaking and coolant was fouling the spark plugs. Dealer
                                   23        quoted $5700 for repairs. (25 hours of labor). Around 86,000 miles (10

                                   24
                                   25   36
                                             NHTSA ID: 11577121.
                                   26   37
                                             NHTSA ID: 11576269.
                                        38
                                   27        NHTSA ID: 115732892.
                                        39
                                             NHTSA ID: 11570935.
                                   28   40
                                             NHTSA ID: 11568906.
                                                                                  24
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                                    1        weeks ago) the same dealership replaced fuel injectors and spark plugs
                                             for $1700. Now the 2017 car is just under 90,000 miles.
                                    2
                                    3        130. On January 1, 2024, the owner of a 2018 Honda Accord submitted the
                                    4   following complaint to NHTSA:41
                                    5        2018 Honda Accord Touring 1.5T (CVT) 43,600 mi 12/27/2023 -
                                             Various warning messages over the course of previous 6 months -Started
                                    6        with a light vibration at cold startup, progressed to CEL flash and engine
                                    7        shut down -Vehicle brought to Honda dealership for a cold
                                             start misfire on cylinder 1 12/28/2023 -Vehicle diagnosed with
                                    8        leaking head gasket (cylinder 1) AND failing injectors on 2 and 4 -All
                                    9        repairs covered under Honda power train warranty Disappointed at
                                             a head gasket and injector failure at 43,600 mi on a vehicle that may have
                                   10        seen 3500RPM twice in its life.
                                   11
                                             131. On October 19, 2023, the owner of a 2017 Honda CR-V submitted the
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                                   12
                                        following complaint to NHTSA:42
                                   13
                                             The contact owns a 2017 Honda CR-V. The contact stated that while
                                   14        driving at approximately 50 MPH, the vehicle started losing motive
                                   15        power. The contact stated that several unknown warning lights were
                                             illuminated. The vehicle was steered to the side of the road and restarted.
                                   16        The vehicle was taken to a dealer where it was diagnosed that the head
                                   17        gasket needed to be replaced. The vehicle was repaired but the failure
                                             persisted. The manufacturer was notified of the failure. The failure
                                   18        mileage was 70,000.
                                   19        132. On June 19, 2023, the owner of a 2017 Honda CR-V submitted the
                                   20   following complaint to NHTSA:43
                                   21        Week of April 11th, While driving the car, the vehicle would start to
                                   22        shake and the following warning messages came on as the vehicle would
                                             start to decelerate making us drift to the emergency lane avoid getting hit
                                   23        by an oncoming vehicles. The following messages came up on multiple
                                   24        occasions on the panel. (note, we could only select 3 options above so
                                             were not able select all of these) 1. Collision Mitigation System Problem
                                   25        2. Adaptive Cruise Control Problem 3. Road Departure Mitigation
                                   26
                                        41
                                   27        NHTSA ID: 11564284.
                                        42
                                             NHTSA ID: 11550829.
                                   28   43
                                             NHTSA ID: 11527685.
                                                                                 25
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                                    1        System Problem 4. Electrical Parking Break Problem 5. Tire Pressure
                                             Monitor Problem 6. Power Steering System (EPS) Problem The car was
                                    2
                                             inspected by Danbury Honda service department, who informed us that
                                    3        it was a blown head gasket. The car is a 2017 purchased in 2020 by
                                             Danbury Honda Dearlership. As we worked primarily from home for the
                                    4
                                             last 3 years, the car was not driven that often and oil changes have been
                                    5        up to date. There have been no signs of leaking or overheating including
                                             the temperature gauge not showing any signs of overheating and
                                    6
                                             remained in neutral or below temperature. The Danbury Honda service
                                    7        department could not explain how a blow head gasket was possible. We
                                    8        then proceeded to have it inspected by Danbury Brewster Service
                                             Department week of April 18th, who informed us that it was a spark plug
                                    9        issue. And there was no indication of a head gasket. After spark plug was
                                   10        repaired, the car was being driven with no issues and on May 4th, the
                                             incident above happened again (again no overheating or leaking). We
                                   11        went back to Honda Brewster who said it was a blown head gasket with
                                             no explanation as to how this as possible. We are attaching the service
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                                   12
                                             technician inspection report and photos. This has caused anxiety and
                                   13        stress where we are not safe driving the vehicle. Our daughter just
                                   14        recently obtained a license and, thankfully, this did not happen to her.
                                             We have been fans of hondas for many years and between us have owned
                                   15        4 honda vehicles.
                                   16        133. On June 7, 2023, the owner of a 2018 Honda Accord submitted the
                                   17   following complaint to NHTSA:44
                                   18        My car is 5 years old with 72,000 miles and it now need a
                                   19        new head gasket. Mechanic said Honda is aware of this issue on this
                                             model car but my warranty is expired and this is costly fix for something
                                   20        the company is well aware of.
                                   21
                                             134. On December 20, 2022, the owner of a 2018 Honda Accord submitting
                                   22
                                        the following complaint to NHTSA:45
                                   23
                                             Hello, On 12/19/2022 when I started my 2018 Honda Accord EX 1.5L it
                                   24        started giving me all the warning lights at a time and suggested me see
                                   25        Honda dealer. I took it nearby Honda dealer and they diagnosed the issue
                                             and found that there is issue with fuel injector CODED
                                   26        PO301 CYLINDER 1 MISFIRE 1st - CLEARED CODES Upon
                                   27   44
                                             NHTSA ID: 11525856.
                                   28   45
                                             NHTSA ID: 11498266.
                                                                                26
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                                    1        rescanning - recorded multiple misfires on cylinder 2,swapped coils and
                                             plugs no change misfire did not follow. Failed Air Fuel Test – Step 1:
                                    2
                                             Replace Fuel injectors with Fuel Pipe AND CHECK VALVE
                                    3        CLEARANCE (Valve Adjustment). And Honda dealer mentioned that it
                                             is not covered by warranty.
                                    4
                                    5        135. On December 13, 2022, the owner of a 2018 Honda Accord submitted
                                    6   the following complaint to NHTSA:46
                                    7        Cylinder 2 misfire with check check engine light on and limp mode
                                             activated. Dealer diagnosis revealed a blown head gasket at 95,000 miles
                                    8        with coolant leaking into cylinder # 2 & 3. Vehicle always serviced on
                                    9        time and at purchasing dealer with no mods to vehicle.
                                   10        136. On December 1, 2022, the owner of a 2021 Honda CR-V submitted the
                                   11   following complaint to NHTSA:47
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                                   12        2021 Honda CRV Hybrid. 11/9/22: When accelerating to merge onto a
                                   13        highway, moving at approximately 50 mph, the vehicle rapidly
                                             decelerated as driver tried to accelerate (went into limp mode), the check
                                   14        engine light came on and the engine made a continuous clattering sound.
                                   15        The vehicle would not go above 15 mph in 55-60 mph traffic. Driver put
                                             flashers on and drove 1/2 a mile to the first exit, lucky he could move to
                                   16        the right lane. Vehicle was driven 1.5 miles home at 15 mph and lower.
                                   17        Didn't drive car on 11/10/22. Car driven to dealership on 11/11/22
                                             because there was no indication of anything wrong -- no sounds or
                                   18        dashboard lights or limp mode. Drove to dealership where a scan
                                   19        indicated engine misfire DTC: P0304 was stored in the system.
                                             Dealership cleared the system and could not recreate the incident after
                                   20        swapping spark plugs and coils and driving 163 miles over 3 days. Took
                                   21        car home on 11/15/22. Six days later, on 11/21/22, the same thing
                                             happened on the highway: as driver accelerated, the engine light came on
                                   22        and flashed and stayed flashing, the engine made vibrating noise, and lost
                                   23        acceleration (limp mode) down to 6 mph on the busy highway. Going 6
                                             mph with flashers on, he was able to reach the ramp for the next exit and
                                   24        pull over on the shoulder. On the shoulder, driver made a video of the
                                   25        engine making clattering sounds and of the engine light flashing on the
                                             dashboard. He turned the car off, waited a few minutes, then turned the
                                   26        car back on. Everything seemed fine. Driver exited the highway and
                                   27   46
                                             NHTSA ID: 11497182.
                                   28   47
                                             NHTSA ID: 11495632.
                                                                                27
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                                    1        drove to the dealership which has had car since 11/21/22. Having no
                                             ability to accelerate, and having the vehicle go into limp mode -- having
                                    2
                                             no control -- on a busy highway is extremely dangerous and frightening.
                                    3
                                             137. On April 26, 2022, the owner of a 2018 Honda CR-V submitted the
                                    4
                                        following complaint to NHTSA:48
                                    5
                                             As I was driving home from work, I tried to accelerate to merge onto the
                                    6        highway and my car would not go over 30-40 mph. It felt like it was
                                    7        going to stall. This could have caused a major accident. I was able to
                                             make it home. I took the 2018 honda crv to the dealer that night and was
                                    8        told that Turbocharger was broke. During this whole ordeal, the engine
                                    9        light did not come on once, nor leading up to this event. The dealer ran
                                             computer diagnostics and nothing came up. They had to take the car apart
                                   10        to find out what was wrong. Because the turbocharger had been broken,
                                   11        this also caused damage to the fuel injectors and they needed replaced.
                                             25 days later, again on my way home from work, every single light and
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                                   12        warning message is flashing on my dash, as if there is a battery problem.
                                   13        THERE WAS NO WARNING APPEAR PRIOR TO THIS EVENT.
                                             Took it back to the dealer and was told that there is blown head gasket,
                                   14        coolant leaking into the cylinder, no compression in cylinder. Luckily,
                                   15        nothing happened while I was driving. THIS NOW REQUIRES MY
                                             WHOLE ENGINE TO BE REPLACED. Seems due to driving with the
                                   16        malfunctioning Turbo, the original problem, WHICH I HAD NO IDEA
                                   17        OR WARNING LIGHT, damaged my car further. VERY
                                             DISAPPOINTED WITH THE HONDA CRV 2018 SAFETY
                                   18        ONBOARD          DIAGNOSTICS         AND       IN      MY      OPINION
                                   19        MALFUNCTIONED.
                                   20        138. On April 5, 2022, the owner of a 2018 CR-V submitted the following
                                   21   complaint to NHTSA:49
                                   22        The contact owns a 2018 Honda CR-V. The contact stated while driving
                                   23        65 MPH, the vehicle lost motive power and stalled with several unknown
                                             warning lights illuminated. The contact used excessive force to steer the
                                   24        vehicle off the highway and immediately called for roadside assistance.
                                   25        The contact had the vehicle initially towed to her home where her son
                                             inspected the vehicle. The contact's son informed her that there was an
                                   26        issue with the engine and the vehicle needed to be towed to the dealer.
                                   27   48
                                             NHTSA ID: 11462330.
                                   28   49
                                             NHTSA ID: 11459671.
                                                                                28
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                                    1        The vehicle was towed to the dealer and was diagnosed with a
                                             defective cylinder head. The manufacturer had yet to be notified of the
                                    2
                                             failure. The vehicle had yet to be repaired and remained in the possession
                                    3        of the dealer. The failure mileage was approximately 72,000.
                                    4        139. On March 28, 2022, the owner of a 2018 Honda Civic submitted the
                                    5   following complaint to NHTSA:50
                                    6        The contact owns a 2018 Honda Civic. The contact stated while driving
                                    7        approximately 20 MPH, several unknown warning lights illuminated and
                                             the vehicle started to idle very rough. The contact had taken the vehicle
                                    8        to a local dealer however, the vehicle was not diagnosed. The contact
                                    9        drove the vehicle to an independent mechanic who diagnosed that there
                                             was an engine cylinder misfire failure with DTC codes: P0302 and
                                   10        P0303. Additionally, the contact stated that there was a strong smell of
                                   11        gasoline in the cabin of the vehicle. The vehicle was not repaired. The
                                             manufacturer had been informed of the failure. The failure mileage was
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                                   12        approximately 80,000. Fuel injectors were replaced by owner April 10,
                                   13        2022. Upon oil change the same day, oil was very dark, despite only
                                             having 600 miles use since last changed and there was fuel noted in oil.
                                   14        Pictures were sent to NHTSA. Since changing injectors fuel mileage has
                                   15        improved greatly. The car has gone from averaging 37MPG to around
                                             41MPG. Oil changed on 6/27/22, coloration was normal for routing
                                   16        change and did not note fuel in oil. No warning lights or issues with
                                   17        operation since injectors changed. The P0302 & P0303 codes were to be
                                             covered as part of a service bulletin relating to oil dilution but both Honda
                                   18        corp & dealership stated that injectors were not covered as part of the
                                   19        service bulletin. Even though the injectors could be directly responsible
                                             for the oil dilution issue if not properly functioning and throwing codes
                                   20        associated with the bulletin. Owner incurred the expense of rental car for
                                   21        a week, two lost days of onsite work with employer, and cost to purchase
                                             injectors. Will provide receipts.
                                   22
                                   23        140. On February 17, 2022, the owner of a 2019 Honda Accord submitted the

                                   24   following complaint to NHTSA:51

                                   25        My son was driving and car stalled and wouldn’t accelerate . Engine light
                                             came on. He shut the car off and restarted. Thank god it happened in a
                                   26        rural road. No issues after restarting. Two days later engine light came
                                   27   50
                                             NHTSA ID: 11458677.
                                   28   51
                                             NHTSA ID: 11452424.
                                                                                  29
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                                    1        on along with a Christmas tree of everything else. Took it to a friend who
                                             put it on his snap-on code reader. He said take it too dealership. Find out
                                    2
                                             it’s a fault head gasket. They want 3700 to fix. The car has 87000 miles
                                    3        on it. I have never seen a head gasket go bad on normal everyday cars. I
                                             thought Honda was reliable. I thought wrong.
                                    4
                                    5        141. On November 20, 2021, the owner of a 2019 Honda Accord submitted
                                    6   the following complaint to NHTSA:52
                                    7        Vehicle repeatedly experiences a "cylinder misfire error" when driving
                                             above 45 mph. The check engine light will flash and the car surges like
                                    8        it is stalling. Loss of the ability to accelerate when it occurs. Also, the car
                                    9        shakes violently when the vehicle comes to a stop before turning off the
                                             engine. Many times, after restarting problem temporarily stops. I have
                                   10        taken it to the dealership multiple times, but problem is unsolved.
                                   11        Happens at least once a week. Started at 58,000 miles. More recently, the
                                             vehicle experiences a safety system failure when driving above 45 mph.
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                                   12        10 system warning lights were activated and will continually appear on
                                   13        instrument panel. Warning lights activated: 1. Hill Start Assist Problem
                                             2. Adaptive Cruise Control System Problem 3. Collision Mitigation
                                   14        Braking System Problem 4. Road Departure Mitigation System Problem
                                   15        5. Emission System Problem 6. Tire Pressure Monitor System Problem
                                             7.Brake System Problem 8. Electric Power Steering System Problem
                                   16        9.Vehicle Stability Assist System Problem 10. Brake Hold System
                                   17        Problem.
                                   18        142. On October 18, 2021, the owner of a 2018 Honda CR-V submitted the
                                   19   following complaint to NHTSA:53
                                   20        The contact owns a 2018 Honda CR-V. The contact stated while starting
                                   21        the vehicle, multiple unknown warning lights were illuminated. The
                                             contact stated an independent mechanic came to her residence and
                                   22        informed her that the engine needed to be repaired. The vehicle was not
                                   23        repaired. The contact stated that on 10/17/2021, while driving 45 MPH,
                                             the engine experienced a misfire and the vehicle started to decelerate.
                                   24        The contact stated that multiple warning lights were illuminated. The
                                   25        contact was able to park on the side of the road. The contact stated she
                                             was able to drive back to her residence. The vehicle was not diagnosed
                                   26
                                   27   52
                                             NHTSA ID: 11441116.
                                   28   53
                                             NHTSA ID: 11437121.
                                                                                   30
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                                    1        or repaired. A dealer was not contacted. The manufacturer had been
                                             informed of the failure. The failure mileage was approximately 27,000.
                                    2
                                    3        143. On June 23, 2021, the owner of a 2020 Honda Accord submitted the
                                    4   following complaint to NHTSA:54
                                    5        The contact owns a 2020 Honda Accord. The contact stated while driving
                                             70 mph while attempting to pass another vehicle, the check engine
                                    6        warning light was illuminated and the vehicle went into limp mode. The
                                    7        contact was able to exit the highway and park safely. The vehicle was not
                                             drivable. The contact towed the vehicle to the local dealer where it was
                                    8        diagnosed with a misfire on cylinders 1 and 4. The local dealer reset the
                                    9        code. The vehicle was repaired. The manufacturer had been informed of
                                             the failure. The failure mileage was approximately 13,762.
                                   10
                                   11        144. On January 22, 2021, the owner of a 2018 Honda CR-V submitted the
                                        following complaint to NHTSA:55
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                                   12
                                   13        I WAS ON HIGHWAY I35 HEADING TO DALLAS DRIVING
                                             70MPH. SUDDENLY MY CHECK ENGINE LIGHT STARTED
                                   14        BLINKING AND MY CAR COMPLETELY SHUT DOWN
                                   15        AUTOMATICALLY WHEN I WAS IN THE MIDDLE OF 18
                                             WHEELERS AND OTHER TRAFFIC ZOOMING BY ME HONKING
                                   16        DUE TO MY SPEED DRASTICALLY DROPPING. I HAD TO
                                   17        COAST ACROSS 3 LANES OF HEAVY TRAFFIC TO GET OVER
                                             TO THE SHOULDER. I WAS TERRIFIED I WAS GOING TO GET
                                   18        SLAM INTO BY ONE OF THE MANY SEMI-TRUCKS. IT WAS
                                   19        TERRIFYING. CALLED AND HAD MY CAR TOWED. CLEO BAY
                                             HONDA (KILEEN, TX) SAID IT WAS A MISFIRE OF ONE OF THE
                                   20        FUEL INJECTORS. WHEN I PICKED IT UP THE FOLLOWING
                                   21        WEEK, I GOT BACK ON THE FREEWAY TO HEAD BACK TO
                                             GEORGETOWN AND THE SAMETHING HAPPENED AGAIN. I
                                   22        AGAIN WAS FORCED TO CROSS 2-3 LANES BY COASTING TO
                                   23        GET OVER TO THE SHOULDER. THEY NOW ARE GOING TO
                                             REPLACE ALL 4 FUEL INJECTORS, BUT I HAVE LOST ALL
                                   24        CONFIDENCE IN THIS CAR'S SAFETY. I DO NOT WANT TO
                                   25        TAKE IT ON THE FREEWAY AGAIN, FEARING THE 3RD TIME I
                                             WILL BE KILLED. I DODGED TWO BULLETS WITH THIS CAR,
                                   26        WHY SHOULD I BE FORCED TO DODGE ANYMORE? VERY
                                   27   54
                                             NHTSA ID: 11422013.
                                   28   55
                                             NHTSA ID: 11389341.
                                                                                31
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                                    1        SCARY! THIS CAR WAS PROGRAMED TO SHUT DOWN WHEN
                                             A MISFIRE OCCURS BUT THEY FAIL TO CONSIDER WHERE
                                    2
                                             THE DRIVER MIGHT BE WHEN IT HAPPENS. TWICE IT
                                    3        HAPPENED WHEN I WAS ON A BUSY FREEWAY AND I LOST
                                             ALL SPEED WITH CARS/SEMI-TRUCKS GOING 70-75MPH PAST
                                    4
                                             ME AND I AM FORCED TO CROSS 3 LANES OF TRAFFIC TO GET
                                    5        TO A SAFE LOCATION. THE FEAR THAT HAPPENED THE FIRST
                                             TIME WAS STILL FRIGHTENING AND TO HAVE IT HAPPEN A
                                    6
                                             SECOND TIME WAS TERRIFYING AND I DON'T FEEL SAFE
                                    7        ANYMORE DRIVING IT. IF NOT ME SOMEONE WILL BE KILLED
                                    8        OR SERIOUSLY INJURED DUE TO THIS DEFECT!

                                    9        145. On November 20, 2020, the owner of a 2018 Honda Accord submitted
                                   10   the following complaint to NHTSA:56
                                   11        DRIVING DOWN THE HIGHWAY GOING 70MPH AND CHECK
                                             ENGINE     LIGHT    STARTS   FLASHING.   CAR   STOPS
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                                   12        ACCELERATING I LIMP OVER TO THE MEDIAN. I TURN THE
                                   13        VEHICLE OFF AND TURN IT BACK ON. THE CAR HAS A SOLID
                                             CHECK ENGINE ON ALONG WITH ALL THE ASSISTING LIGHTS
                                   14        ON. THE CAR ACCELERATES LIKE NORMAL AND WHEN I GET
                                   15        HOME I DISCONNECT THE BATTERY AND EVERYTHING
                                             CLEARS ONCE I RECONNECT. IN ANOTHER INSTANCE I GO TO
                                   16        TURN MY CAR ON THE CHECK ENGINE LIGHT STAYS ON BUT
                                   17        THE VEHICLE WON'T GO PAST 1500 RPMS AND IT'S
                                             BASICALLY IN LIMP MODE WITH THE CHECK ENGINE LIGHT
                                   18        ON AGAIN TO GO ALONG WITH ROAD DEPARTURE SYSTEM,
                                   19        VEHICLE STABILITY SYSTEM, TIRE PRESSURE MONITORING,
                                             BRAKE SYSTEM, ELECTRIC POWER STEERING, HILL START
                                   20        ASSIST, ADAPTIVE CRUISE CONTROL , COLLISION
                                   21        MITIGATION AND EMISSION SYSTEM WARNINGS ALL LIGHT
                                             UP. I DID THE SAME THING DISCONNECT THE BATTERY AND
                                   22        AGAIN THEY ALL GO AWAY. THIS HAS BEEN GOING ON FOR
                                   23        A MONTH. AT LEAST 9 TIMES WHERE ALL THE WARNING
                                             LIGHTS COME ON ALONG WITH THE CHECK ENGINE LIGHT.
                                   24
                                             ONCE WHEN I'M TRAVELING AS EXPLAINED AND 2 TIMES
                                   25        WHERE IT GOES INTO LIMP MODE FROM THE START. TOOK
                                             VEHICLE       TO     A   FRIEND     AND    GOT     A
                                   26
                                             P0303 CYLINDER 3 MISFIRE. HAVING DONE RESEARCH OF
                                   27
                                   28   56
                                             NHTSA ID: 11366497.
                                                                               32
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                                    1        THE CODE NOTICED THAT 2012-2018 HONDA'S HAVE HAD
                                             SIMILAR ISSUES ADDRESSED BY A BULLETIN AND
                                    2
                                             EXTENDED THE WARRANTY FOR THOSE VEHICLES. MY CAR
                                    3        HAS 70K AND IT'S CURRENTLY OUT OF THE WARRANTY
                                             PERIOD. THANK YOU.
                                    4
                                    5        146. On November 3, 2019, the owner of a 2017 Honda CR-V submitted the
                                    6   following complaint to NHTSA:57
                                    7        2017 HONDA CRV WITH 1.5 L TURBO 4 CYLINDER ENGINE.
                                             HEALTH HAZARD: NOTED GASOLINE FUMES IN CABIN AFTER
                                    8        STARTING THE CAR. THE FUMES ARE COMING IN THROUGH
                                    9        THE VENTILATION SYSTEM. HAPPENING IN BOTH COLD AND
                                             HOT WEATHER. CAR HAS 30K MILES ON IT. FUMES NOTICED
                                   10        WHEN CAR IS STATIONARY AFTER STARTING IT. ALSO
                                   11        FOUND TO HAVE GAS ENTERING OIL PAN, DILUTING THE OIL,
                                             AND CAUSING HIGH OIL LEVELS. SIMILAR REPORTS FROM
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                                   12        MANY OTHER OWNERS OF THIS VEHICLE WITH THIS ENGINE
                                   13        AND APPARENTLY A MAJOR RECALL IN CHINA FOR THE
                                             PROBLEM. AM CONCERNED ABOUT HYDROCARBON LEVELS
                                   14        IN THE PASSENGER CABIN WHICH CAN BE A MAJOR HEALTH
                                   15        HAZARD. JUST BECAUSE THE FUMES DISSIPATE AFTER A
                                             MINUTE OR SO DOES NOT NECESSARILY MEAN THAT THE
                                   16        HYDROCARBON LEVELS IN THE CABIN ARE NORMAL FOR
                                   17        THE REST OF THE RIDE. OTHER MAJOR CONCERN IS
                                             PREMATURE WEAR ON THE ENGINE DUE TO GAS MIXING
                                   18        WITH OIL. ANOTHER CONCERN IS REPORTS OF CRVS WITH
                                   19        THIS PROBLEM STALLING AT HIGH SPEEDS AND FAILING TO
                                             ACCELERATE PROPERLY. HONDA USA HAS NOT ADDRESSED
                                   20        THE PROBLEM AS OF THIS DATE NOR HAVE THEY OFFERED
                                   21        ANY SOLUTIONS. I FEEL LIKE I WASTED OVER $30K ON A
                                             VEHICLE THAT IS NOW UNSAFE AND DESTINED TO
                                   22        PREMATURE ENGINE FAILURE. I THINK THERE NEEDS TO BE
                                   23        A RECALL TO FIX THIS PROBLEM.
                                   24        147. On December 27, 2018, the owner of a 2018 Honda CR-V submitted the
                                   25   following complaint to NHTSA:58
                                   26
                                   27   57
                                             NHTSA ID: 11145159.
                                   28   58
                                             NHTSA ID: 11163629.
                                                                             33
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                                    1           ABNORMAL OIL DILUTION CAUSING EXCESSIVE WEAR
                                                AND TEAR ON THE ENGINE. CAR TALKING LONG TIME
                                    2
                                                TO WARM UP. NOT RUNNING SMOOTHLY. FOUL SMELL
                                    3           OF GAS IN THE CABIN.
                                    4        148. On November 27, 2018, the owner of a 2016 Honda Civic submitted the
                                    5   following complaint to NHTSA:59
                                    6        ENGINE STALLED MULTIPLE TIMES IN LAST ONE YEAR
                                             WHEN ACCELERATING FROM YELD/STOP. IT HAPPED TWICE
                                    7        WHILE YIELDING AND MERGING ONTO HIGHWAYS; WE
                                    8        WERE LUCKY THERE WERE NO VEHICLES ON HIGHWAY
                                             DURING MERGING, OTHERWISE SITUATION WOULD HAVE
                                    9        THE WORST . ALSO ALL WARNING LIGHTS ON THE DASH
                                   10        BOARD FLASHES WITH FAILURE WARNINGS. AT THAT POINT
                                             ENGINE ALMOST STALLED RUNNING ONLY AT SPEED OF 10
                                   11
                                             M/H ATLEAST WHICH HELPED ME TO PULL OFF THE
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                                   12        HIGHWAY. I SWITCHED OFF AND ON, ENGINE CAME LIVE,
                                             BUT ALL THE WARNING LIGHTS WERE STILL THERE.
                                   13
                                             WARNINGS ON THE DASHBOARD WERE CLEARED ONLY
                                   14        NEXT DAY AFTER WHOLE NIGHT IDLE. I TOOK THE VEHICLE
                                             TO HONDA DEALER, EXPLAINED THE PROBLEM AND ALSO
                                   15
                                             PROVIDED THEM THE VIDEO THAT MY FRIEND SITTING IN
                                   16        THE PASSENGER SEAT RECORDED WHILE INCIDENT
                                             HAPPENED. DEALERSHIP TRIED TO PULL THE ERROR CODE,
                                   17
                                             BUT NONE WERE FOUND. DEALER ASKED ME TO KEEP THE
                                   18        VEHICLE WITH DEALERSHIP AS THEY NEED TO REPRODUCE
                                             THE ISSUE. FORTUNATELY THEY REPRODUCED THE EXACT
                                   19
                                             SAME ISSUE, AND FOUND THE ENGINE CYLINDER MISFIRES
                                   20        IN 1 AND 4. THEY INTIMATED HONDA ENGINEERING FOR
                                             ASSISTANCE,   AND    HONDA   ASSISTED    THEM    TO
                                   21
                                             RECALIBRATE THE SYSTEM WITHOUT FINDING THE ROOT
                                   22        CAUSE. DEALERSHIP RECALIBRATED AND DIRECTED BY
                                             HONDA AND TOLD ME THAT IF THE ISSUE HAPPENS AGAIN
                                   23
                                             THAT WILL BE FIXED UNDER WARRANTY. ALL THESE
                                   24        TRANSCRIPTS WERE RECORDED IN SERVICE HISTORY OF MY
                                   25        VEHICLE. THE SAME ISSUE APPEARED YESTERDAY AGAIN.
                                             WHEN I RESEARCHED ABOUT THE ISSUE ON INTERNET,
                                   26        MOST OF THEM COMPLAINED ABOUT THE ENGINLE OIL AND
                                   27        GAS MIXUP. I CHECKED MY OIL LEVEL WITH OIL CHECK

                                   28   59
                                             NHTSA ID: 11154143.
                                                                             34
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                                    1        STICK PROVIDED BY HONDA, AND OIL LEVELS ARE WAY
                                             ABOVE THAN MAX MARK AND OIL SMELLS LIKE GASOLINE;
                                    2
                                             AND MORE OVER THE OIL LOOK VERY THIN ALMOST LIKE
                                    3        WATER THICKNESS.
                                    4        149. On November 26, 2018, the owner of a 2017 Honda CR-V submitted the
                                    5   following complaint to NHTSA:60
                                    6        MY 2017 HONDA CRV EX 1.5 LTR TURBO ENGINE HAS AN OIL
                                    7        DELUTION ISSUE FUEL IS GETTING INTO THE CRANKCASE
                                             DELUTING THE OIL TOOK IT TO THE DEALER ALL THEY DID
                                    8        WAS CHANGE THE OIL I CONTACTED HONDA GOT A CASE
                                    9        NUMBER#09145359 THEY SAID SOMEONE WOULD CALL ME
                                             ABOUT THE ISSUE. NO ONE HAS CALLED AT THIS TIME NOV
                                   10        26TH 2018.
                                   11
                                             150. On November 25, 2018, the owner of a 2017 Honda CR-V submitted the
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                                   12
                                        following complaint to NHTSA:61
                                   13
                                             MY 1.5L TURBO CHARGED ENGINE HAS A STRONG GASOLINE
                                   14        ODOR IN THE ENGINE OIL. SO GASOLINE IS MIXING WITH MY
                                   15        ENGINE OIL AND MAY CAUSE EARLY ENGINE FAILURE OR A
                                             SAFETY ISSUE. I NOTICED THE GASOLINE SMELL WHEN
                                   16        CHANGING MY ENGINE OIL AND THE CAR IS PARKED.
                                   17        151. On November 20, 2018, the owner of a 2017 Honda CR-V submitted the
                                   18   following complaint to NHTSA:62
                                   19        FUEL IS GETTING IN ENGINE OIL AND DELUTING IT. 1.5
                                   20        TURBO ENGINE. CALL HONDA OF AMERICA THEY SAID TO
                                             TAKE TO DEALER FOR INSPECTION. HONDA GAVE ME A CASE
                                   21        NUMBER. DEALER CHANGE OIL TOLD TO KEEP A WATCH ON
                                   22        IT. CALLED HONDA BACK WITH CASE NUMBER THEY SAID
                                             HONDA HAS NO FIX AT THIS TIME. I WAS TOLD JUST TO
                                   23        WATCH FOR SOMETHING ON THE INTERNET TO SEE IF THERE
                                   24        WAS GOING TO BE A FIX. MEANWHILE MY ENGINE IN BEING
                                   25
                                   26
                                        60
                                   27        NHTSA ID: 11154124.
                                        61
                                             NHTSA ID: 11153597.
                                   28   62
                                             NHTSA ID: 11152828.
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                                    1        DAMAGED BY NOT HAVING PROPER OIL LUBERCATION
                                             FROM FUEL BEING IN OIL.
                                    2
                                    3        152. On November 15, 2018, the owner of a 2016 Honda Civic submitted the
                                    4   following complaint to NHTSA:63
                                    5        ISSUE WITH THE 1.5 TURBO CALLED OIL DILUTION. CHINA
                                             HAD A RECALL ON THE TURBO DUE TO THE FUEL DILUTION
                                    6        PROBLEM (FUEL GETTING INTO OIL). BACK IN SEPTEMBER
                                    7        ON THE WAY TO OHIO FROM INDIANA CIVIC BROKE DOWN
                                             AND STALLED WHILE DRIVING DOWN INTERSTATE 70,
                                    8        DURING A RAIN STORM. NOT A SAFE SITUATION AT ALL.
                                    9        CIVIC WAS TOWED TO A HONDA DEALER IN DAYTON. WAS
                                             TOLD OIL WAS OVERFULL AND THEIR SOLUTION WAS TO
                                   10        DRAIN AND FILL WITH PROPER AMOUNT. WAS TOLD BY THE
                                   11        DEALER THEY HAD SEEN THAT BEFORE. IT IS COMING
                                             TOGETHER FOR ME NOW WHEN I SAW A CONSUMER REPORT
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                                   12        YOUTUBE DISCUSSING THIS ENGINE ISSUE AND THIS
                                   13        YOUTUBE:
                                             HTTPS://WWW.YOUTUBE.COM/WATCH?V=J80BFJS-16U.        1.5
                                   14        TURBO IS BUILDING UP FLUID IN THE CRANKCASE LIKE ON
                                   15        THE 1.5 TURBOS IN THE CIVIC. HAD THE OIL CHANGED AGAIN
                                             RIGHT AT TWO MONTHS LATER, HERE IN INDIANA, WITH
                                   16        LIKELY LESS THAN 2000 MORE MILES AND THERE IS AGAIN
                                   17        BUILDUP OF FLUID IN THE CRANKCASE. THE OIL WAS
                                             OVERFULL AS CONFIRMED BY THE TECHS AT THE LOCAL
                                   18        INDIANA HONDA DEALER. THIS IS A SAFETY ISSUE.
                                   19
                                             153. On July 1, 2016, the owner of a 2016 Honda Civic submitted the
                                   20
                                        following complaint to NHTSA:64
                                   21
                                             I HAVE A BRAND NEW 2016 CIVIC 1.5T EX-L WITH 1,000 MILES
                                   22        AND A CRACKED ENGINE BLOCK. WE NOTICED THE ENGINE
                                   23        OIL ALL OVER OUR GARAGE. IT'S BEEN LEAKING FOR A
                                             WHILE, PROBABLY SINCE WE GOT IT, BUT WE DIDN'T
                                   24        REALIZE UNTIL TODAY THAT THE OIL WAS COMING FROM
                                   25        OUR BRAND NEW CAR. AFTER OUR OWN INVESTIGATION, WE

                                   26
                                   27   63
                                             NHTSA ID: 11151864
                                   28   64
                                             NHTSA ID: 10882160.
                                                                             36
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                                    1         RULED OUT ALL OF OUR OTHER CARS AND TOOK IT INTO
                                              DEALERSHIP TODAY.
                                    2
                                    3         154. The above complaints are just a small sample of the thousands of
                                    4   complaints submitted to NHTSA and Honda and posted online.
                                    5         155. As demonstrated above, Class Vehicles suffer from a uniform defect in
                                    6   the Engines and/or related components that causes the vehicles to leak coolant through
                                    7   the cylinder head surface into the adjacent combustion chambers, leading to
                                    8   overheating and blown head gaskets, among other component failures, as well
                                    9   catastrophic Engine failure.
                                   10         156. Honda also monitors social media platforms and online forums,
                                   11   including Honda-specific forums, which, upon information and belief, Honda
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                                   12   monitors to track product performance and customer satisfaction. Accordingly,
                                   13   Honda is and was aware of the numerous, widespread complaints about the Engines
                                   14   in the Class Vehicles.
                                   15         157. Owners and lessees of the Class Vehicles have also reported the Engine
                                   16   Defect on social media platforms and online forums, including Honda-specific forums
                                   17   such as “accordxclub.com”65 and “Driveaccord.net.”66
                                   18
                                   19
                                   20
                                   21
                                   22
                                   23
                                   24
                                   25
                                   26
                                        65
                                   27          https://www.accordxclub.com/threads/2018-honda-accord-1-5t-engine-
                                        failure.6664/?post_id=24588&nested_view=1&sortby=oldest#post-24588
                                   28   66
                                               https://www.driveaccord.net/threads/blown-head-gasket-any-recall.559243/
                                                                                 37
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                                    1        158. Below are samples of complaints posted to those forums:
                                    2
                                    3
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                                    1         159. Honda knew that the Engine Defect was present in all Class Vehicles but
                                    2   has failed to recall them and provide an adequate remedy. Honda’s unconscionable
                                    3   acts deprive Class Members of an adequate remedy, if one is devised and
                                    4   implemented.
                                    5         160. The Engine Defect renders the Class Vehicles inoperable and
                                    6   creates an unreasonable risk of injury or death to Plaintiff, Class
                                    7   Members, and others, and, thus, the Class Vehicles are not fit for their
                                    8   ordinary purpose.
                                    9               3.    Warranty Data
                                   10         161. Honda also knew about the Engine Defect from its warranty
                                   11   data. Per the TREAD Act, Honda tracks customer complaints, vehicle
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                                   12   diagnoses, and repairs from dealership technicians in a single,
                                   13   aggregated database. 67 Honda employs persons who monitor the
                                   14   database for repair trends, and engineering and management staff
                                   15   review such trends in regular meetings. 68 For every one complaint filed
                                   16   with NHTSA, Honda likely receives hundreds or thousands of related
                                   17   warranty claims. 69 Accordingly, Honda has likely received thousands of
                                   18   Engine Defect warranty claims from the start of production.
                                   19         162. Based on pre-production testing, pre-production design failure mode
                                   20   analysis, production design failure mode analyses, early consumer complaints made
                                   21   to Defendants’ network of exclusive dealers, aggregate warranty data compiled from
                                   22   those dealers, repair order and parts data received from the dealers, consumer
                                   23   complaints to NHTSA, public consumer complaints made online, and the testing
                                   24   performed in response to the consumer complaints, Honda knew the Engine Defect
                                   25
                                   26   67
                                              https://one.nhtsa.gov/nhtsa/announce/testimony/tread.html
                                        68
                                   27         https://static.nhtsa.gov/odi/rcl/2020/RCLRPT-20V439-2939.PDF
                                        69
                                              https://static.nhtsa.gov/odi/rcl/2017/RMISC-17V418-5009.pdf (zero         field
                                   28   reports, 3,826 warranty claims).
                                                                                   39
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                                    1   was present in all Class Vehicles, but it has not disclosed the Engine Defect or
                                    2   provided an adequate repair to all Class Vehicles. Honda’s halfhearted and
                                    3   unconscionable acts deprived and continues to deprive Plaintiff and Class Members
                                    4   of the benefit of their bargain. Had Plaintiff and Class Members known what Honda
                                    5   knew about the Engine Defect, they would not have purchased their Class Vehicles,
                                    6   or certainly would have paid less to do so.
                                    7         163. Accordingly, Honda likely received hundreds or thousands of Engine
                                    8   Defect warranty claims starting as early as 2016.
                                    9         164. Based on the voluminous count of early warranty complaints likely
                                   10   submitted to Honda and other sources, Honda likely knew of the Engine Defect well
                                   11   before the Class Vehicles were purchased by Class Members.
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                                   12                4.    Honda’s Manufacturer Communications Related to the
                                   13                      Engine Defect

                                   14         165. On October 4, 2017, Honda issued an inspection request to Authorized
                                   15   Honda Dealerships requesting to inspect certain 2016-2018 Civics and 2017-2018
                                   16   CR-Vs for complaints of oil leaks from the head cover gasket.70 No root cause was
                                   17   identified, and no repair was offered for customers suffering from the Engine Defect.71
                                   18         166. On July 26, 2024, Honda issued a parts request72 to Honda Authorized
                                   19   Dealerships for certain 2018-2022 1.5L’s Accords, as well as 2017-2022 1.5Ls CR-
                                   20   V, and 2020-2020 CR-V FHEVs with customer complaints of the Malfunction
                                   21   Indicator Light (MIL) on with the DTC P030X (Cylinder Misfire Detected) stored.
                                   22   Honda also stated that customers may experience rough running of the engine.
                                   23         167. A qualifier for the parts request was that “Head Gasket coolant leak to
                                   24   cylinder has been confirmed.”73 Honda offered technicians VISA gift cards for
                                   25
                                   26   70
                                              Exhibit D.
                                        71
                                   27         Id.
                                        72
                                              Exhibit E.
                                   28   73
                                              Exhibit E.
                                                                                  40
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                                    1   reporting the qualifying failures, but no repair was offered to customers suffering from
                                    2   the Engine Defect.
                                    3         168. On August 15, 2024, Honda issues a second parts request 74 to Honda
                                    4   Authorized Dealerships for certain 2018-2022 1.5’s Accords, as well as 2017-2022
                                    5   CR-V 1.5Ls, and 2020-2020 CR-V FHEVs with customer complaints of the
                                    6   Malfunction Indicator Light (MIL) on with the DTC P030X (Cylinder Misfire
                                    7   Detected) stored.
                                    8         169. Again, a qualifier for the parts requests was that “Head Gasket coolant
                                    9   leak to cylinder has been confirmed.”75 No repair was offered for the customers
                                   10   suffering from the Engine Defect, but Honda again offered technicians VISA gift
                                   11   cards for reporting the qualifying failures.76
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                                   12         170. Despite knowledge of the Engine Defect, Honda did not offer repairs for
                                   13   customers suffering from the Defect, nor did Honda cover any attempted repairs under
                                   14   warranty.
                                   15                5.      Honda’s Design Changes
                                   16         171. Honda modified the short block design of the Class Vehicles starting for
                                   17   the 2019 Model Year (Part No. 10002-6A0-A01).77
                                   18         172. However, this design change did not eliminate the root cause of the
                                   19   Engine Defect because the design continued to include grooves at the point where the
                                   20   engine’s cylinder head attaches to the engine block.
                                   21         173. Starting for the 2020 model year Accord, Honda introduced a modified
                                   22   head gasket design in an attempt to eliminate the Engine Defect. This design change
                                   23   was later implemented in the Civic and CR-V starting in model year 2021.
                                   24
                                   25   74
                                              Exhibit F.
                                   26   75
                                              Id.
                                        76
                                   27         Id.
                                        77
                                              https://www.hondapartsnow.com/genuine/honda~general~assy~cylinder~
                                   28   block~10002-6a0-a01.html
                                                                             41
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                                    1         174. For illustrative purposes, the below image contains the newly designed
                                    2   head gasket (left) and the previous head gasket design (right):
                                    3
                                    4
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                                   18
                                   19         175. As highlighted above, the 2020 design change only modified the size and
                                   20   location of certain oil and coolant passages in an attempt to better manipulate oil and
                                   21   coolant flow.
                                   22         176. However, through Plaintiff’s independent automotive consultant’s
                                   23   testing, this design change proved to be ineffective, and the Class Vehicles’ engines
                                   24   continue to suffer from the Engine Defect.
                                   25         177. Specifically, coolant continues to leak through the gasket, causing
                                   26   coolant to mix with engine oil, resulting in the engine overheating due to pressure
                                   27   build-up in the cooling system, potentially leading to significant engine damage.
                                   28
                                                                                  42
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                                    1         178. The below image of a 2022 Honda Accord equipped with the 2020 head
                                    2   gasket design demonstrates the Engine Defect eroding the head gasket between the
                                    3   cylinder and combustion chambers leading to head gasket failure, among other things:
                                    4
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                                   22         179. Finally, starting in the 2023 model year for the Class Vehicles, Honda
                                   23   introduced its second short engine block design change.78
                                   24         180. Since the specifics of the 2023 design change are currently in the
                                   25   exclusive and superior possession of Honda, Plaintiffs can only confirm if the 2023
                                   26
                                   27   78
                                              https://www.hondapartsnow.com/genuine/honda~general~assy~10002-6a0-
                                   28   a02.html
                                                                             43
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                                    1   model years and onward are free of the Engine Defect through discovery.
                                    2         181.    Because the Engine Defect is a latent defect, few failures for the Engine
                                    3   Defect for the 2023 to present Honda Accord, Civic, and CR-V model years have
                                    4   been reported. For this reason, those vehicles are not currently covered under the Class
                                    5   Vehicle definition.
                                    6         182. The full scope of the Class Vehicles can only be properly determined
                                    7   through discovery.
                                    8         E.     Honda Touted the Safety, Quality, and Reliability of the Class V,
                                    9                Concealing the Engine Defect

                                   10         183. Honda has operated in the United States since 1959, manufacturing and
                                   11   selling passenger cars such as the Accord and Civic, and light trucks such as the CR-
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                                   12   V, since 1976, 1972, and 1997, respectively.
                                   13         184. In its tenth generation, the Honda Accord underwent major changes in
                                   14   2017, and Model Year 2018-2022 Accords now come standard with the 1.5-liter
                                   15   Turbocharged engine, depending on trim level.
                                   16         185. Since 2015, the tenth-generation Civic sedan has been sold by Honda.
                                   17   Model Year 2016-2022 Civics come equipped with the 1.5-liter Turbocharged engine,
                                   18   depending on trim level.
                                   19         186. In 2017, Honda introduced its fifth generation CR-V. Its Model Year
                                   20   2017-2023 CR-Vs contain the 1.5-liter turbocharged engine, depending on trim level.
                                   21         187. Through its network of over 1,000 dealerships across the United States,79
                                   22   Honda has become one of the top automakers in the United States in terms of sales.
                                   23         188. In 2020 and 2021, Honda sold 1.34 million and 1.46 million vehicles,
                                   24   respectively.80
                                   25
                                   26   79
                                               https://hondanews.com/en-US/pages/honda-in-america
                                        80
                                   27          https://www.best-selling-cars.com/usa/2021-full-year-usa-honda-and-acura-
                                        sales-by-model/#:~:text=Honda%20Brand%20Sales%20in%20the,top%2D
                                   28   selling%20Honda%20car%20 (last visited August 27, 2024)
                                                                                 44
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                                    1         189. In 2021, 95% of the Honda and Acura automobiles sold in the United
                                    2   States were produced in North America.81
                                    3         190. The Accord has been Honda’s third bestselling vehicle, selling over
                                    4   199,000 vehicles and over 202,000 vehicles in 2020 and 2021, respectively.82
                                    5         191. The Civic sold over 261,000 vehicles and over 263,000 vehicles in 2020
                                    6   and 2021, respectively.83
                                    7         192. The CR-V has been Honda’s best-selling vehicle in the United States,
                                    8   selling over 333,000 vehicles in 2020, and over 361,000 vehicles in 2021.84
                                    9         193. Honda is a large player in the United States auto-market based on its
                                   10   assurances to consumers of care, durability, and quality.
                                   11         194. Consistent with its marketing and public statements, Honda falsely
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                                   12   represents its vehicles as safe and dependable so that consumers can rely upon the
                                   13   build and quality of the vehicles for daily use.
                                   14         195. Honda’s overarching marketing message for the Class Vehicles was and
                                   15   is that it creates safe, efficient, and dependable vehicles. This marketing message is
                                   16   false, and misleading given the Engine Defect, which can cause the Class Vehicles’
                                   17   Engines to suffer from coolant leakage through the cylinder head surface into the
                                   18   adjacent combustion chambers, leading to overheating and blown head gaskets,
                                   19   among other component failures, as well catastrophic Engine failure.
                                   20         196. Honda directly markets, for its benefit, the Class Vehicles to consumers
                                   21   via extensive nationwide multimedia advertising campaigns on television, the
                                   22   internet, billboards, print, mailings, social media, and other mass media, which impart
                                   23   a universal and pervasive marketing message: safe and reliable vehicles.
                                   24
                                   25
                                   26   81
                                              Id.
                                        82
                                   27         Id.
                                        83
                                              Id.
                                   28   84
                                              Id.
                                                                                   45
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                                    1         197. Honda dedicates a page on its website entitled “safety,” where Honda
                                    2   represents the safety of its vehicles.85 Therein, Honda states that it conducts “3D
                                    3   Model Testing,” and touts that it has “developed an advanced safety visualization
                                    4   technology to create highly detailed three-dimensional models of a vehicle’s crash
                                    5   safety structure.”
                                    6         198. Further, Honda states that “[f]or 50 years, Honda has built some of the
                                    7   most-praised vehicles on the road – and some of the safest,” linking to a webpage
                                    8   listing Honda’s lineup of awards.86
                                    9         199. Honda further represents that it conducts “Virtual & Real-World
                                   10   Tests[,]” and touts that it has “developed two of the world’s most advanced crash-test
                                   11   facilities – including the largest ever built and first to allow multi-directional crashes.”
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                                   12   Honda states that it also “dreamt bigger to digitally savvy used-car consumers (June
                                   13   6, 2019), create some of the most advanced virtual crash tests in the world. All this
                                   14   combines to make safer roads for everyone.”87
                                   15         200. Notwithstanding the presence of the Defect in millions of Class Vehicles
                                   16   which prevents drivers from safely driving their cars, Honda calls itself “a mobility
                                   17   company–we move people. But, for us, safety is an enormous priority. We don’t just
                                   18   want to move you; we want to move you safely.”88
                                   19         201. Honda claims that the safety testing procedures it utilizes “allows
                                   20   [Honda] to make the road safer for everybody on it by engineering for worst case
                                   21   scenarios in an unprecedented way.”89
                                   22
                                   23
                                   24
                                   25   85
                                              https://www.honda.com/safety
                                   26   86
                                              Id.
                                        87
                                   27         Id.
                                        88
                                              https://www.honda.com/safety/virtual-and-real-world-tests
                                   28   89
                                              Id.
                                                                               46
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                                    1         202. Honda’s website has a section devoted to safety, called “Safety For
                                    2   Everyone.”90 Therein, it includes promotional videos touting the pre-sale safety
                                    3   testing it conducts.
                                    4         203. For example, the webpage includes a video interview with Bryan Hourt,
                                    5   Chief Engineer for North America Safety Strategy and Planning, in which he touts
                                    6   the various pre-sale tests that Honda conducts and its “development of core safety
                                    7   technologies.”91
                                    8         204. Honda’s YouTube channel similarly displays a commercial titled “Each
                                    9   Honda is engineered with Safety for Everyone in mind,” dated January 8, 2021.92
                                   10         205. In the commercial, Honda’s Manager/Principal Engineer of Crash Safety
                                   11   touts Honda’s “safety for everyone philosophy.” The video description reads, “[f]rom
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                                   12   our own family members to yours, safety is a top priority when engineering our
                                   13   vehicles. When you or your loved ones get behind the wheel of a Honda, you’re
                                   14   driving a vehicle that’s been designed with Safety for Everyone in mind.” 93
                                   15         206. A screenshot of the advertisement is included below.
                                   16   ///
                                   17
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                                   23
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                                        90
                                   25         https://hondanews.com/en-US/safety
                                        91
                                              https://hondanews.com/en-US/safety/channels/channel-
                                   26   ca54ead83e3667d0b2045585b001b6d4?sortOrder=PublishedAscending&selectedTa
                                   27   bId=channel
                                        92
                                              https://www.youtube.com/watch?v=t5VltkR4J_w
                                   28   93
                                              Id.
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                                              207. The consistently uniform marketing message from Honda concerning the
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                                   12
                                        reliability of its vehicles is also found in Honda’s marketing brochures for the Class
                                   13
                                        Vehicles.
                                   14
                                              208. Featured prominently in Honda’s marketing materials are claims of
                                   15
                                        excellence in quality, design, safety, and reliability.
                                   16
                                              209.    On information and belief, Honda requires its marketing brochures to be
                                   17
                                        provided to prospective customers at its network of dealerships.
                                   18
                                              210. Advertised by Honda as “comfortable, secure[,]” and “impressive[,]”
                                   19
                                        Honda touts the “1.5-liter, turbocharged and intercooled engine” found in 2022 Civic
                                   20
                                        vehicles.94
                                   21
                                              211. Honda further claimed the 2021 Civic has “advanced engineering[,]” and
                                   22
                                        noted the vehicle’s “1.5-liter, turbocharged and intercooled engine[.]” An excerpt of
                                   23
                                        the 2021 Honda Civic advertisement follows:
                                   24
                                   25
                                   26
                                   27
                                   28   94
                                              https://cdn.dealereprocess.org/cdn/brochures/honda/2022-civic.pdf
                                                                                 48
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                                   15         212. Honda makes similar claims throughout its brochures for the 2019 Civic,
                                   16   stating the vehicle is “[p]acked with cutting-edge technology[,]” including the “1.5-
                                   17   liter, turbocharged” engine.95
                                   18         213. In the brochure for Honda’s model year 2021 vehicles, Honda states the
                                   19   Accord is “[t]he most impressive Honda ever,” with “more advanced features than
                                   20   ever,” including “the latest technology.”96
                                   21         214. In a 2022 Honda Accord brochure, Honda emphasized its “dedicat[ion]
                                   22   to identifying and implementing advanced designs and features that help enhance the
                                   23   safety of drivers and passengers[.]”97
                                   24
                                   25
                                   26
                                        95
                                   27         https://cdn.dealereprocess.org/cdn/brochures/honda/2019-civic.pdf
                                        96
                                              https://dealerinspire-brochure.s3.amazonaws.com/2021.pdf
                                   28   97
                                              https://cdn.dealereprocess.org/cdn/brochures/honda/2022-accord.pdf
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                                    1         215. Honda’s 2018 brochure for the Accord makes similar claims, describing
                                    2   the “1.5-liter . . . turbocharged engine[ ]” as “[f]ast forward thinking,” and the vehicle
                                    3   as “[a]t the forefront of safety.”98 The 2018 Accord brochure is copied below:
                                    4
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                                   16         216. In addition, Honda stated that its 2021 Civic is “[a]n extraordinary ride .
                                   17   . . culminating in a driving experience not soon forgotten” because of its “advanced
                                   18   engineering[,]” and “suite of safety and driver-assistive features[.]” In light of all
                                   19   these purported safety features and attention to detail, Honda promises its drivers
                                   20   “[c]onfidence on the road.”99
                                   21         217. In its brochure for the 2018 Accord, Honda states that the vehicle is
                                   22   “[t]he most impressive Honda ever.”100
                                   23
                                   24
                                   25
                                   26   98
                                             https://cdn.dealereprocess.org/cdn/brochures/honda/2018-accord.pdf
                                        99
                                   27        https://cdn.dealereprocess.org/cdn/brochures/honda/2019-civic.pdf
                                        100
                                             https://pictures.dealer.com/rivertownhonda/8b4ec4800a0e0ca37432ffaa
                                   28   8919ba2f.pdf
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                                   13
                                               218. Additional representations about reliability-related topics include
                                   14
                                        affirmative promises that the vehicle was “[b]uilt for what-if” and is “[a]t the forefront
                                   15
                                        of safety.”101
                                   16
                                               219. Similarly, in a January 2020 tweet, Honda spotlighted the “impressive
                                   17
                                        safety features” of its 2020 Honda Civic.
                                   18
                                        ///
                                   19
                                   20
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                                   28   101
                                               Id.
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                                   17         220. Honda’s touting of the safety and reliability of the Class Vehicles while
                                   18   knowing of the Engine Defect and the Engines’ gross underperformance is unfair and
                                   19   unconscionable.
                                   20         221. Honda has marketed its products, including the Class Vehicles, as safe
                                   21   and reliable vehicles for years.
                                   22         222. Although Honda markets the Class Vehicles as safe and reliable, in the
                                   23   field, the Class Vehicles fail to meet that promise. Instead, Honda omits the true nature
                                   24   of the Class Vehicles and the fact that the Class Vehicles suffer from the Engine
                                   25   Defect. Honda has never disclosed the Engine Defect to Plaintiff or the other Class
                                   26   Members.
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                                    1         223. Plaintiff and the other Class Members were exposed to Honda’s
                                    2   pervasive and long-term marketing campaign touting the supposed quality, safety, and
                                    3   reliability of the Class Vehicles.
                                    4         224. Plaintiff and the other Class Members, as any reasonable customer
                                    5   would, justifiably made their decisions to purchase or lease their Class Vehicles
                                    6   based, in material part, on Honda’s misleading marketing, including affirmations of
                                    7   facts, promises, and representations, which also omitted any disclosure of the Engine
                                    8   Defect.
                                    9         225. Honda has actively concealed the Engine Defect throughout the Class
                                   10   period despite its pervasive knowledge. Specifically, Honda has:
                                   11                a.     Failed to disclose, at and after the time of purchase, lease, and/or
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                                   12   service, any and all known material defects of the Class Vehicles, including the
                                   13   Engine Defect;
                                   14                b.     Failed to disclose, at and after the time of purchase, lease, and/or
                                   15   service, that the Class Vehicles suffered the Engine Defect, were defective, and not
                                   16   fit for their intended purposes;
                                   17                c.     Failed to disclose, and actively concealed, the fact that the Class
                                   18   Vehicles suffered the Engine Defect and were defective, despite that Honda learned
                                   19   of the Engine Defect as early as 2016 or before, and certainly well before Plaintiff
                                   20   and the other Class Members purchased or leased their Class Vehicles; and
                                   21                d.     Failed to disclose, and actively concealed, the existence and
                                   22   pervasiveness of the Engine Defect even when Class Members directly asked about it
                                   23   during communications with Honda, Honda dealerships, and Honda service centers.
                                   24         226. Honda also creates or approves much, if not all, of the marketing
                                   25   materials provided by a Honda-authorized dealership to consumers prior to or at the
                                   26   time of purchase. Honda, through its dealers and those marketing materials, could
                                   27   have disclosed the Engine Defect and the true nature of the Class Vehicles, but it
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                                    1   failed to do so. As a result of Honda’s omissions of material facts at the point of sale,
                                    2   Plaintiff and Class Members were misled and have overpaid for their Class Vehicles.
                                    3         F.     Honda’s Dealers Are Its Agents and Plaintiff and Class Members
                                    4                Are Third Party Beneficiaries

                                    5         227. Honda controls its dealerships, and the dealerships act for the benefit of
                                    6   Honda.
                                    7         228. Namely, Honda controls, among other things, what vehicles the
                                    8   dealerships sell; the number of vehicles supplied to dealerships (based on sales
                                    9   performance); how dealerships market the vehicles; what incentives and rebates a
                                   10   dealership can offer; the layout of dealerships, including logo placements; and how to
                                   11   diagnose and repair issues. Moreover, when dealerships sell the vehicles to
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                                   12   consumers, they bind Honda to a contract (e.g., warranties).
                                   13         229. Honda “sells” the vehicles to dealerships. Plaintiff and Class Members
                                   14   are third-party beneficiaries of these sales contracts between dealerships and Honda
                                   15   because the terms of the contracts, such as the warranties, are for the benefit of the
                                   16   end user, not the dealerships, and Honda designed, manufactured and marketed the
                                   17   Class Vehicles intending that they would be purchased by consumers such as Plaintiff
                                   18   and Class Members.
                                   19         G.     Honda Received Pre-Suit Notice Multiple Times and in Multiple
                                   20                Ways

                                   21         230. Honda had extensive and exclusive notice of the Engine Defect, as
                                   22   detailed in Section D, supra, paragraphs 80-164. Additionally, given Honda’s
                                   23   extensive and exclusive knowledge of the Engine Defect, its latency, and Honda’s
                                   24   inability to repair it, any additional notice requirement would be futile.
                                   25         231. However, Honda also had notice of Plaintiff’s claims. At the time of
                                   26   filing this complaint, Plaintiff Bissell served Defendants a letter providing pre-suit
                                   27   notice and demand for corrective action concerning the defect at issue in this
                                   28   complaint. Exhibit G. The notice specifically described the defect at issue, stated the
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                                    1   notice was being sent pursuant to California Civil Code § 1782 and stated Defendants
                                    2   had breached warranties and violated California consumer statutes. The notice letter
                                    3   further stated that it was being sent on behalf of Chris Bissell and all other members
                                    4   of the Class as defined herein. Once the time-period set forth in California Civil Code
                                    5   section 1782(a) has expired after providing Notice and Demand to Defendant,
                                    6   Plaintiff will amend this cause of action to seek recovery of damages pursuant to
                                    7   California Civil Code section 1782(d).
                                    8         H.     Applicable Warranties
                                    9         232. Honda issued a New Vehicle Limited Warranty for the Class Vehicles.
                                   10   Honda issued its Limited Warranty for the benefit of Plaintiff and Class Members,
                                   11   and for the purpose of persuading Plaintiff and Class Members to purchase the Class
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                                   12   Vehicles.
                                   13         233. Honda provides these warranties to buyers and lessees after the
                                   14   purchase/lease of the Class Vehicles is completed; buyers and lessees have no pre-
                                   15   sale/lease knowledge or ability to bargain as to the terms of the warranties.
                                   16         234. The Class Vehicles sold and leased by Honda included a written express
                                   17   warranty, which provides: “All new Honda vehicles are covered by a 3-Year/36,000-
                                   18   Mile New Vehicle Limited Warranty, plus a 5-Year/60,000-Mile Powertrain Limited
                                   19   Warranty.”102
                                   20         235. Honda instructs vehicle owners and lessees to take their Class Vehicles
                                   21   to a Honda-certified dealership for warranty repairs. Many owners and lessees have
                                   22   presented their Class Vehicles to Honda-certified dealerships with complaints arising
                                   23   from the Engine Defect and have been denied a free repair.
                                   24
                                   25
                                   26
                                   27   102
                                             https://owners.honda.com/Documentum/Warranty/Handbooks/2022_Honda
                                   28   _Warranty_Basebook.pdf
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                                    1         236. Honda has evaded its warranty obligations by (1) failing to tell
                                    2   consumers that the Class Vehicles are defective, and (2) refusing to perform and/or
                                    3   failing to timely issue adequate repairs to correct the Engine Defect.
                                    4         237. Moreover, Honda’s warranty fails in its essential purpose because the
                                    5   company has failed to offer an effective and permanent repair for the Engine Defect.
                                    6   Rather, Honda simply replaces defective head gaskets and other failed components
                                    7   with equally defective head gaskets and other failed components and fails to correct
                                    8   and/or properly diagnose the underlying cause.
                                    9         238. Honda has notice of its breach and fraud based on its actual and exclusive
                                   10   knowledge of the Engine Defect.
                                   11         239. Moreover, Honda’s failure to effectively repair the Engine Defect makes
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                                   12   any notice requirement futile.
                                   13         240. Both warranties are applicable to the Engine Defect; however, Honda
                                   14   has failed to correct the issue.
                                   15         241. Under the terms of the New Vehicle Limited Warranty, Honda is
                                   16   required to “repair or replace any part that is defective in material or workmanship
                                   17   under normal use.”
                                   18         242. Each Class Vehicle’s original engine is included in the New Vehicle
                                   19   Limited Warranty. This includes “[c]ylinder block and head and all internal parts,
                                   20   timing gears and gaskets, timing chain/belt and cover, flywheel, valve covers, oil pan,
                                   21   oil pump, intake and exhaust manifolds, engine mounts, engine/powertrain control
                                   22   module, water pump, fuel pump, seals and gaskets.”103
                                   23         243. The New Vehicle Limited Warranty period begins once “[t]he vehicle is
                                   24   delivered to the first purchaser by a Honda automobile dealer” or “[t]he vehicle is
                                   25   leased.”104
                                   26
                                   27   103
                                              Id.
                                   28   104
                                              Id.
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                                    1         244. Buyers and lessees have no pre-sale/lease knowledge or ability to
                                    2   bargain as to the terms of the warranties.
                                    3         245. Honda’s attempt to disclaim or limit these express warranties vis-à-vis
                                    4   consumers is unconscionable and unenforceable here. Specifically, Honda’s warranty
                                    5   limitation is unenforceable because it knowingly sold or leased a defective product
                                    6   without informing consumers about the Engine Defect.
                                    7         246. The time limits contained in Honda’s warranty periods were also
                                    8   unconscionable and inadequate to protect Plaintiff and other Class members.
                                    9         247. Among other things, Plaintiff and other Class members had no
                                   10   meaningful choice in determining these time limitations, the terms of which
                                   11   unreasonably favored Honda.
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                                   12         248. A gross disparity in bargaining power existed between Honda and other
                                   13   Class Members, and Honda knew of the Defect at the time of sale.
                                   14                    Tolling OF THE STATUTE OF LIMITATIONS
                                   15   a.    Discovery Rule Tolling
                                   16         249. Plaintiff and the other Class Members could not have discovered through
                                   17   the exercise of reasonable diligence that their Class Vehicle was defective within the
                                   18   time period of any applicable statutes of limitation.
                                   19         250. Neither Plaintiff nor the other Class Members knew or could have known
                                   20   of the Engine Defect in their Class Vehicles.
                                   21   b.    Fraudulent Concealment Tolling
                                   22         251. Throughout the time period relevant to this action, Honda concealed
                                   23   from and failed to disclose to Plaintiffs and the other Class Members vital information
                                   24   about the Engine Defect described herein.
                                   25         252. Indeed, Honda kept Plaintiff and the other Class Members ignorant of
                                   26   vital information essential to the pursuit of their claims. As a result, neither Plaintiff
                                   27   nor the other Class Members could have discovered the defect, even upon reasonable
                                   28   exercise of diligence.
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                                    1         253. Specifically, since at least 2016, Honda has been aware that the 1.5L
                                    2   engines installed in the Class Vehicles were defective.
                                    3         254. Despite its knowledge of the defect, Honda failed to disclose and
                                    4   concealed, and continues to conceal, this critical information from Plaintiff and the
                                    5   other Class Members, even though, at any point in time, it could have done so through
                                    6   individual correspondence, media release, or by other means.
                                    7         255. Honda affirmatively and actively concealed the Engine Defect when it
                                    8   continued marketing the Class Vehicles and introducing new vehicles with this
                                    9   engine, despite knowing that it was defective.
                                   10         256. Plaintiff and the other Class Members justifiably relied on Honda to
                                   11   disclose the Engine Defect in the Class Vehicles that they purchased or leased,
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                                   12   because that defect was hidden and not discoverable through reasonable efforts by
                                   13   Plaintiff and the other Class Members.
                                   14         257. Thus, the running of all applicable statutes of limitation have been
                                   15   suspended with respect to any claims that Plaintiff and the other Class Members have
                                   16   sustained as a result of the defect, by virtue of the fraudulent concealment doctrine.
                                   17                                          Estoppel
                                   18         258. Honda knew about the Engine Defect since at least 2016.
                                   19         259. However, Honda did not disclose the Engine Defect to Plaintiff or the
                                   20   other Class Members, nor did Honda warn Plaintiff and Class Members of the dangers
                                   21   of the Engine Defect.
                                   22         260. Instead, Honda continued to mass-market the Class Vehicles solely for
                                   23   the purpose of generating revenues for Honda’s benefit.
                                   24         261. Honda still has not released a countermeasure to remedy the Engine
                                   25   Defect.
                                   26         262. Because of Honda’s unwillingness to provide adequate repairs, Plaintiff
                                   27   and Class Members were led to believe that no problem existed or that the issue was
                                   28   resolved, only to find out it would later fail again. Honda was merely replacing
                                                                                  58
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                                    1   defective components with other equally defective components, rather than
                                    2   eliminating the Engine Defect for good.
                                    3         263. Honda was under a continuous duty to disclose to Plaintiff and the other
                                    4   Class Members the true character, quality, and nature of the Class Vehicles.
                                    5         264. Honda knowingly concealed the true nature, quality, and character of the
                                    6   Class Vehicles.
                                    7         265. Based on the foregoing, Honda is estopped from relying on any statutes
                                    8   of limitations in defense of this action.
                                    9                                 CLASS ALLEGATIONS
                                   10         266. Plaintiff brings this action as a class action pursuant to Federal Rule of
                                   11   Civil Procedure 23 on behalf of the following statewide class:
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                                   12         California Class: All current and former owners or lessees of a Class
                                   13         Vehicle (as defined herein) that was purchased or leased in California.

                                   14         267. Subject to additional information obtained through further investigation
                                   15   and discovery, the foregoing definitions of the Class may be expanded or narrowed
                                   16   by amendment or amended complaint or narrowed at class certification.
                                   17         268. Excluded from the Classes are HML and AHM and any of their
                                   18   members, affiliates, parents, subsidiaries, officers, directors, employees, successors,
                                   19   or assigns; the judicial officers, and their immediate family members; and Court staff
                                   20   assigned to this case. Plaintiff reserves the right to modify or amend the Class
                                   21   definition, as appropriate, during the course of this litigation.
                                   22         269. This action has been brought and may properly be maintained on behalf
                                   23   of the Classes proposed herein under the criteria of Rule 23 of the Federal Rules of
                                   24   Civil Procedure.
                                   25         270. Numerosity – Federal Rule of Civil Procedure 23(a)(1). The members
                                   26   of the Class are so numerous and geographically dispersed that individual joinder of
                                   27   all Class Members is impracticable. While Plaintiff is informed and believes that there
                                   28   are thousands of Class Members, the precise number of Class Members is unknown
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                                    1   to Plaintiff but may be ascertained from Honda’s books and records. Class Members
                                    2   may be notified of the pendency of this action by recognized, Court-approved notice
                                    3   dissemination methods, which may include U.S. Mail, electronic mail, Internet
                                    4   postings, and/or published notice.
                                    5         271. Commonality and Predominance – Federal Rule of Civil Procedure
                                    6   23(a)(2) and 23(b)(3). This action involves common questions of law and fact, which
                                    7   predominate over any questions affecting individual Class Members, including,
                                    8   without limitation:
                                    9                a.       whether Honda engaged in the conduct alleged herein;
                                   10                b.       whether Honda’s alleged conduct violates applicable law;
                                   11                c.       whether Honda designed, advertised, marketed, distributed,
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                                   12                         leased, sold, or otherwise placed the Class Vehicles into the stream
                                   13                         of commerce in the United States;
                                   14                d.       whether Honda misled Class Members about the quality of the
                                   15                         Class Vehicles;
                                   16                e.       whether the Class Vehicles contain the Engine Defect;
                                   17                f.       whether Honda had actual or imputed knowledge about the
                                   18                         alleged defect but failed to disclose it to Plaintiff and the other
                                   19                         Class Members;
                                   20                g.       whether Honda’s omissions and concealment regarding the
                                   21                         quality of the Class Vehicles were deceptive in violation of state
                                   22                         consumer protection laws;
                                   23                h.       whether Honda breached its express warranty to the Class
                                   24                         Members with respect to the Class Vehicles;
                                   25                i.       whether Class Members overpaid for their Class Vehicles as a
                                   26                         result of the Engine Defect alleged herein;
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                                    1                 j.    whether Class Members are entitled to damages, restitution,
                                    2                       restitutionary disgorgement, equitable relief, statutory damages,
                                    3                       exemplary damages, and/or other relief; and
                                    4                 k.    the amount and nature of relief to be awarded to Plaintiff and the
                                    5                       other Class Members.
                                    6         272. Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s
                                    7   claims are typical of the other Class Members’ claims because Plaintiff and the other
                                    8   Class Members purchased or leased Class Vehicles with a uniform defect. Neither
                                    9   Plaintiff nor the other Class Members would have purchased the Class Vehicles, or
                                   10   would have paid less for the Class Vehicles, had they known of the Engine Defect in
                                   11   the Class Vehicles. Plaintiff and the other Class Members suffered damages as a direct
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                                   12   proximate result of the same wrongful practices in which Honda engaged. Plaintiff’s
                                   13   claims arise from the same practices and course of conduct that give rise to the claims
                                   14   of the other Class Members.
                                   15         273. Adequacy of Representation – Federal Rule of Civil Procedure
                                   16   23(a)(4). Plaintiff is an adequate Class representative because their interests do not
                                   17   conflict with the interests of the other members of the Class that they seek to represent,
                                   18   Plaintiff has retained counsel competent and experienced in complex class action
                                   19   litigation, and Plaintiff intends to prosecute this action vigorously. The Class’s
                                   20   interests will be fairly and adequately protected by Plaintiff and their counsel.
                                   21         274. Declaratory and Injunctive Relief – Federal Rule of Civil Procedure
                                   22   23(b)(2). Honda has acted or refused to act on grounds generally applicable to
                                   23   Plaintiff and the other Class Members, thereby making appropriate final injunctive
                                   24   relief and declaratory relief, as described below, with respect to the Class Members
                                   25   as a whole.
                                   26         275. Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action
                                   27   is superior to any other available means for the fair and efficient adjudication of this
                                   28   controversy, and no unusual difficulties are likely to be encountered in the
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                                    1   management of this class action. The damages or other financial detriment suffered
                                    2   by Plaintiff and the other Class Members are relatively small compared to the burden
                                    3   and expense that would be required to individually litigate their claims against Honda,
                                    4   so it would be impracticable for the Class Members to individually seek redress for
                                    5   Honda’s wrongful conduct. Even if the Class Members could afford litigation the
                                    6   court system could not. Individualized litigation creates a potential for inconsistent or
                                    7   contradictory judgments and increases the delay and expense to all parties and the
                                    8   court system. By contrast, the class action device presents far fewer management
                                    9   difficulties, and provides the benefits of single adjudication, economy of scale, and
                                   10   comprehensive supervision by a single court.
                                   11                                 CLAIMS FOR RELIEF
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                                   12                                         COUNT 1
                                   13                               Breach of Express Warranty
                                   14                                   U.C.C. § 2-313, et seq.
                                   15         276. Plaintiff incorporates and realleges each preceding paragraph as though
                                   16   fully set forth herein.
                                   17         277. Plaintiff brings this count on behalf of himself and the other Class
                                   18   Members.
                                   19         278. Defendants marketed the Class Vehicles as safe, built to last, and reliable
                                   20   vehicles. Such representations formed the basis of the bargain in Plaintiff’s and the
                                   21   other Class Members’ decisions to purchase or lease the Class Vehicles.
                                   22         279. Defendants are and were at all relevant times merchants and sellers of
                                   23   motor vehicles as defined under the Uniform Commercial Code.
                                   24         280. With respect to leases, Defendants are and were at all relevant times
                                   25   lessors of motor vehicles as defined under the Uniform Commercial Code.
                                   26         281. The Class Vehicles are and were at all relevant times goods within the
                                   27   meaning of the Uniform Commercial Code.
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                                    1         282. In connection with the purchase or lease of each of the Class Vehicles,
                                    2   Defendants provide warranty coverage for the Class Vehicles under one or more
                                    3   manufacturer’s warranties. For illustrative purposes, all new Honda vehicles are
                                    4   covered by a 3-Year/36,000-Mile New Vehicle Limited Warranty, plus a 5-
                                    5   Year/60,000-Mile Powertrain Limited Warranty. Under warranties provided to
                                    6   Plaintiff and the other members of the Class, Defendants promised to repair or replace
                                    7   defective Engines and/or components arising out of defects in materials and/or
                                    8   workmanship, such as the Engine Defect, at no cost to owners or lessors of the Class
                                    9   Vehicles.
                                   10         283. Defendants’ warranties formed part of the basis of the bargain that was
                                   11   reached when Plaintiff and the other Class Members purchased or leased their Class
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                                   12   Vehicles. The affirmations of fact and/or promises made by Defendants in the
                                   13   warranties are express warranties, became part of the basis of the bargain, and are part
                                   14   of a standardized contract between Plaintiff and the members of the Class on the one
                                   15   hand and Defendants on the other.
                                   16         284. Despite the existence of the warranties, Defendants failed to inform
                                   17   Plaintiff and the other Class Members that the Class Vehicles contained the Engine
                                   18   Defect, and, thus, wrongfully transferred the costs of repair or replacement of the
                                   19   Engines to Plaintiff and the other Class Members.
                                   20         285. Defendants have failed to provide Plaintiff or the other members of the
                                   21   Class with a meaningful remedy for the Engine Defect, in clear breach of the express
                                   22   warranty described above, promising to repair and correct a manufacturing defect or
                                   23   defect in materials or workmanship of any parts they supplied.
                                   24         286. Plaintiff and the Class Members performed all conditions precedent
                                   25   under the contract between the parties.
                                   26         287. As described above in paragraphs 230-231, Defendants were provided
                                   27   pre-suit notice of the Engine Defect, and as such have been afforded a reasonable
                                   28   opportunity to cure their breach of written warranties. Any additional time to do so
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                                    1   would be unnecessary and futile because Defendants have known of and concealed
                                    2   the Engine Defect and, on information and belief, have refused to repair or replace
                                    3   the Engines free of charge despite the Engine Defect’s existence at the time of sale or
                                    4   lease of the Class Vehicles.
                                    5         288. Defendants are in privity with Plaintiff and members of the Class.
                                    6   Plaintiff and Class Members, not the dealers, were the intended beneficiaries of
                                    7   Honda’s Class Vehicles and the associated written warranties. Defendants designed
                                    8   and manufactured the Class Vehicles, and created the advertising, marketing, and
                                    9   representations at issue and warranted the Class Vehicles to Plaintiff and members of
                                   10   the Class directly and/or through the doctrine of agency. Defendants’ sale of the Class
                                   11   Vehicles was through authorized dealers. Purchase or lease through authorized
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                                   12   dealers is sufficient to create privity because such authorized sellers are Defendants’
                                   13   agents for the purpose of the sale and lease of the Class Vehicles. Further, Defendants
                                   14   knew the identity, purpose and requirements of Plaintiff and members of the Class
                                   15   and designed, manufactured and marketed the Class Vehicles to meet their
                                   16   requirements.
                                   17         289. As a direct and proximate result of Defendants’ breach of express
                                   18   warranties, Plaintiff and the other Class Members have been damaged in an amount
                                   19   to be determined at trial.
                                   20         290. Finally, because of Defendants’ breach of express warranty as set forth
                                   21   herein, Plaintiff and the other members of the Class assert, as additional and/or
                                   22   alternative remedies, the revocation of acceptance of the goods and the return to
                                   23   Plaintiff and the other Class Members of the purchase or lease price of all Class
                                   24   Vehicles currently owned or leased, and for such other incidental and consequential
                                   25   damages as allowed.
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                                    1                                       COUNT 2
                                    2                              Breach of Implied Warranty
                                    3                                 U.C.C. § 2-314, et seq.
                                    4         291. Plaintiff incorporates and realleges each preceding paragraph as though
                                    5   fully set forth herein.
                                    6         292. Plaintiff brings this count on behalf of himself and the other members of
                                    7   the Class.
                                    8         293. Plaintiff and the other Class Members purchased or leased the Class
                                    9   Vehicles from Defendants by and through their authorized agents for retail sales or
                                   10   were otherwise expected to be the eventual purchasers of the Class Vehicles when
                                   11   bought from a third party. At all relevant times, Defendants were the manufacturers,
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                                   12   distributors, warrantors, and/or sellers of Class Vehicles. Defendants knew or had
                                   13   reason to know of the specific use for which the Class Vehicles were purchased or
                                   14   leased.
                                   15         294. Defendants are and were at all relevant times merchants and sellers of
                                   16   motor vehicles as defined under the Uniform Commercial Code.
                                   17         295. With respect to leases, Defendants are and were at all relevant times
                                   18   lessors of motor vehicles as defined under the Uniform Commercial Code.
                                   19         296. The Class Vehicles are and were at all relevant times goods within the
                                   20   meaning of the Uniform Commercial Code.
                                   21         297. Defendants impliedly warranted that the Class Vehicles were in
                                   22   merchantable condition and fit for the ordinary purpose for which vehicles are used.
                                   23         298. The Class Vehicles, when sold or leased and at all times thereafter, were
                                   24   not in merchantable condition and are not fit for the ordinary purpose of providing
                                   25   safe and reliable transportation. The Class Vehicles contain the Engine Defect and
                                   26   present an undisclosed safety risk to drivers and occupants. Thus, Defendants
                                   27   breached their implied warranty of merchantability.
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                                    1         299. Plaintiff and the Class Members performed all conditions precedent
                                    2   under the contract between the parties.
                                    3         300. As described above in paragraphs 230-231, Defendants were provided
                                    4   pre-suit notice of the Engine Defect, and as such have been afforded a reasonable
                                    5   opportunity to cure their breach of written warranties. Any additional time to do so
                                    6   would be unnecessary and futile because Defendants have known of and concealed
                                    7   the Engine Defect and, on information and belief, have refused to repair or replace
                                    8   the Engines free of charge despite the Engine Defect’s existence at the time of sale or
                                    9   lease of the Class Vehicles.
                                   10         301. Defendants are in privity with Plaintiff and members of the Class.
                                   11   Plaintiff and Class Members, not the dealers, were the intended beneficiaries of
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                                   12   Honda’s Class Vehicles. Defendants designed and manufactured the Class Vehicles,
                                   13   and created the advertising, marketing, and representations at issue and warranted the
                                   14   Class Vehicles to Plaintiff and members of the Class directly and/or through the
                                   15   doctrine of agency. Defendants’ sale of the Class Vehicles was through authorized
                                   16   dealers. Purchase or lease through authorized dealers is sufficient to create privity
                                   17   because such authorized sellers are Defendants’ agents for the purpose of the sale and
                                   18   lease of the Class Vehicles. Further, Defendants knew the identity, purpose and
                                   19   requirements of Plaintiff and members of the Class and designed, manufactured and
                                   20   marketed the Class Vehicles to meet their requirements.
                                   21         302. As a direct and proximate result of Defendants’ breach of the implied
                                   22   warranty of merchantability, Plaintiff and the other Class Members have been
                                   23   damaged in an amount to be proven at trial.
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                                    1                                        COUNT 3
                                    2                Violation of the Song-Beverly Consumer Warranty Act
                                    3                            For Breach of Express Warranty
                                    4                             (Cal. Civil Code § 1790 et seq.)
                                    5         303. Plaintiff incorporates by reference the allegations set forth in the
                                    6   preceding paragraphs as though fully set forth herein.
                                    7         304. Plaintiff brings this cause of action on behalf of himself and on behalf of
                                    8   members of the Class who purchased, leased, or owned the Class Vehicles in the state
                                    9   of California.
                                   10         305. Plaintiff and other Class members are “buyers” or “lessees” within the
                                   11   meaning of California Civil Code § 1791(b) and (h).
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                                   12         306. The Class Vehicles are consumer goods within the meaning of California
                                   13   Civil Code § 1791(a).
                                   14         307. The Class Vehicles include new motor vehicles, as Civil Code section
                                   15   1793.22, subdivision (e)(2), defines the term “new motor vehicle.”
                                   16         308. Honda is a “manufacturer” of the Class Vehicles within the meaning of
                                   17   California Civil Code § 1791(j).
                                   18         309. Plaintiff and the other Class members bought or leased Class Vehicles
                                   19   manufactured by Honda.
                                   20         310. Honda made an express warranty to Plaintiffs and the other Class
                                   21   Members within the meaning of California Civil Code §§ 1791.2 and 1793.2 as
                                   22   described above.
                                   23         311. The Class Vehicles share a common design defect (i.e., the Engine
                                   24   Defect).
                                   25         312. The Class Vehicles are covered by Honda’s express warranty.
                                   26         313. The Engine Defect substantially impairs the use, value, and safety of the
                                   27   Class Vehicles to reasonable consumers, including Plaintiff and the other Class
                                   28   Members.
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                                    1         314. As described above in paragraphs 230-231, Defendants were provided
                                    2   pre-suit notice of the Engine Defect, and as such have been afforded a reasonable
                                    3   opportunity to cure their breach of written warranties. Any additional time to do so
                                    4   would be unnecessary and futile because Defendants have known of and concealed
                                    5   the Engine Defect and, on information and belief, have refused to repair or replace
                                    6   the Engines free of charge despite the Engine Defect’s existence at the time of sale or
                                    7   lease of the Class Vehicles.
                                    8         315. Honda has had the opportunity to cure the defect in the Class Vehicles,
                                    9   but it has chosen not to do so. Giving Honda a chance to cure the defect is not
                                   10   practicable in this case and would serve only to delay this litigation unnecessarily.
                                   11         316. As a result of Honda’s breach of its express warranty, Plaintiff and the
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                                   12   other Class Members received goods with substantially impaired value.
                                   13         317. Plaintiff and the other Class Members have been damaged by the
                                   14   diminished value of the Class Vehicles resulting from the Engine Defect.
                                   15         318. Pursuant to California Civil Code §§ 1793.2 and 1794, Plaintiffs and the
                                   16   other Class Members are entitled to damages and other legal and equitable relief
                                   17   including, at their election, the purchase price of their Class Vehicles or the
                                   18   overpayment or diminution in value of the vehicles.
                                   19         319. Pursuant to California Civil Code § 1794, Plaintiffs and the other Class
                                   20   Members are also entitled to costs and attorneys’ fees.
                                   21                                          Count 4
                                   22               Violation Of The Song-Beverly Consumer Warranty Act
                                   23                            For Breach Of Implied Warranty
                                   24                             (Cal. Civ. Code §§ 1790 et seq.)
                                   25         320. Plaintiff Chris Bissell (“Plaintiff,” for purposes of the California Class’s
                                   26   claims) incorporate by reference each allegation as if fully set forth herein.
                                   27         321. Plaintiff brings this Count individually and on behalf of the other
                                   28   members of the California Class (the “Class,” for purposes of this Count).
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                                    1         322. Plaintiff and the other Class Members are “buyers” or “lessees” within
                                    2   the meaning of California Civil Code § 1791(b) and (h).
                                    3         323. The Class Vehicles are “consumer goods” within the meaning of
                                    4   California Civil Code § 1791(a).
                                    5         324. Honda is a “manufacturer” of the Class Vehicles within the meaning of
                                    6   California Civil Code § 1791(j).
                                    7         325. Honda impliedly warranted to Plaintiff and the other Class Members that
                                    8   the Class Vehicles were “merchantable” within the meaning of California Civil Code
                                    9   §§ 1791.1(a) and 1792.
                                   10         326. California Civil Code § 1791.1(a) provides that consumer goods must
                                   11   meet the following requirements in order to fulfill the implied warranty of
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                                   12   merchantability: “(1) Pass without objection in the trade under the contract
                                   13   description; (2) Are fit for the ordinary purposes for which such goods are used; (3)
                                   14   Are adequately contained, packaged, and labeled; and (4) Conform to the promises or
                                   15   affirmations of fact made on the container or label.”
                                   16         327. The Class Vehicles would not pass without objection in the automotive
                                   17   trade because they share a common design defect (i.e., the Engine Defect), which
                                   18   causes the vehicles to, suddenly and without notice, become inoperable and
                                   19   undriveable.
                                   20         328. Because of the Engine Defect, the Class Vehicles are not fit for their
                                   21   ordinary purposes.
                                   22         329. The Class Vehicles were not adequately labeled because the labeling
                                   23   failed to disclose the Engine Defect.
                                   24         330. As described above in paragraphs 230-231, Defendants were provided
                                   25   pre-suit notice of the Engine Defect, and as such have been afforded a reasonable
                                   26   opportunity to cure their breach of written warranties. Any additional time to do so
                                   27   would be unnecessary and futile because Defendants have known of and concealed
                                   28   the Engine Defect and, on information and belief, have refused to repair or replace
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                                    1   the Engines free of charge despite the Engine Defect’s existence at the time of sale or
                                    2   lease of the Class Vehicles.
                                    3         331. Honda has had the opportunity to cure the defect in the Class Vehicles,
                                    4   but it has chosen not to do so. Giving Honda a chance to cure the defect is not
                                    5   practicable in this case and would serve only to delay this litigation unnecessarily.
                                    6         332. As a result of Honda’s breach of the implied warranty of merchantability,
                                    7   Plaintiff and the other Class Members received goods with substantially impaired
                                    8   value. Plaintiff and the other Class Members have been damaged as a result of the
                                    9   diminished value of the Class Vehicles.
                                   10         333. Under California Civil Code §§ 1791.1(d) and 1794, Plaintiff and the
                                   11   other Class Members are entitled to damages and other legal and equitable relief
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                                   12   including, at their election, the purchase price of their Class Vehicles or the
                                   13   overpayment or diminution in value of the vehicles.
                                   14         334. Pursuant to California Civil Code § 1794, Plaintiff and the other Class
                                   15   Members are also entitled to costs and attorneys’ fees.
                                   16                                         COUNT 5
                                   17                Violation of California’s Consumer Legal Remedies Act
                                   18                             (Cal. Civil Code § 1750, et seq.)
                                   19         335.    Plaintiff incorporates by reference each preceding paragraph as though
                                   20   fully set forth herein.
                                   21         336. Plaintiff brings this claim on behalf of himself and the other members of
                                   22   the Class who purchased or leased Class Vehicles in states with state consumer laws
                                   23   that are similar to California’s Consumer Legal Remedies Act (the “CLRA”) as
                                   24   applied to the facts of this case, or, in the alternative, on behalf of members of the
                                   25   Class who purchased, leased, or owned the Class Vehicles in the state of California.
                                   26         337. HML is a “person” as defined by California Civil Code § 1761(c). AHM
                                   27   is a “person” as defined by California Civil Code § 1761(c).
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                                    1         338. Plaintiff and the Class Members are “consumers” within the meaning of
                                    2   California Civil Code § 1761(d).
                                    3         339. By failing to disclose and concealing the defective nature of the Class
                                    4   Vehicles’ Engines from Plaintiff and the other Class Members, Defendants violated
                                    5   California Civil Code § 1770(a), as they represented that the Class Vehicles had
                                    6   characteristics and benefits that they do not have, represented that the Class Vehicles
                                    7   were of a particular standard, quality, or grade when they were of another, and
                                    8   advertised the Class Vehicles with the intent not to sell them as advertised. See Cal.
                                    9   Civ. Code §§ 1770(a)(5), (7) & (9).
                                   10         340. Defendants’ unfair and deceptive acts or practices occurred repeatedly
                                   11   in Defendants’ trade or business, were capable of deceiving a substantial portion of
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                                   12   the purchasing public, and imposed a serious safety risk on the public.
                                   13         341. Defendants knew that the Class Vehicles’ Engines suffered from an
                                   14   inherent defect, were defectively designed or manufactured, would fail prematurely,
                                   15   and were not suitable for their intended use.
                                   16         342. Defendants were under a duty to Plaintiff and the other Class Members
                                   17   to disclose the defective nature of the Class Vehicles’ Engines and/or the associated
                                   18   repair costs because: a) Defendants were in a superior position to know the true state
                                   19   of facts about the safety defect contained in the Class Vehicles’ Engines; b) Plaintiff
                                   20   and the other Class Members could not reasonably have been expected to learn or
                                   21   discover that their Engines have a dangerous safety defect until after they purchased
                                   22   the Class Vehicles; and c) Defendants knew that Plaintiff and the other Class
                                   23   Members could not reasonably have been expected to learn about or discover the
                                   24   Engine Defect.
                                   25         343. By failing to disclose the Engine Defect, Defendants knowingly and
                                   26   intentionally concealed material facts and breached their duty not to do so.
                                   27         344. The facts concealed or not disclosed by Defendants to Plaintiff and the
                                   28   other Class Members are material because a reasonable consumer would have
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                                    1   considered them to be important in deciding whether to purchase the Class Vehicles,
                                    2   or to pay less for them. Had Plaintiff and the other Class Members known that the
                                    3   Class Vehicles’ Engines are defective, they would not have purchased the Class
                                    4   Vehicles or would have paid less for them.
                                    5         345. Plaintiff and the other Class Members are reasonable consumers who do
                                    6   not expect that their vehicles will suffer from a Engine Defect. That is the reasonable
                                    7   and objective consumer expectation for vehicles and their Engines.
                                    8         346. As a result of Defendants’ misconduct, Plaintiff and the other Class
                                    9   Members have been harmed and have suffered actual damages in that the Class
                                   10   Vehicles and their Engines are defective and require repairs or replacement.
                                   11         347. As a direct and proximate result of Defendants’ unfair or deceptive acts
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                                   12   or practices, Plaintiff and the other Class Members have suffered and will continue to
                                   13   suffer actual damages.
                                   14         348. As described above in paragraphs 230-231, Defendants were provided
                                   15   pre-suit notice of the Engine Defect, and as such have been afforded a reasonable
                                   16   opportunity to cure their breach of written warranties. Additionally, pursuant to Cal.
                                   17   Civ. Code § 1782(a), Defendants were notified in writing by certified mail of the
                                   18   particular violations of Section 1770 of the CLRA, which notification demanded that
                                   19   Defendants rectify the problems associated with the actions detailed above and give
                                   20   notice to all affected consumers of Defendants’ intent to so act. A copy of the letter is
                                   21   attached hereto as Exhibit G.
                                   22         349. If Defendants fail to rectify or agree to rectify the problems associated
                                   23   with the actions detailed above and give notice to all affected consumers within 30
                                   24   days of the date of written notice pursuant to § 1782 of the CLRA, Plaintiff will amend
                                   25   this complaint to add claims for actual, punitive and statutory damages, as appropriate.
                                   26         350. Defendants’ conduct is fraudulent, wanton and malicious.
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                                    1         351. Plaintiff seeks all available relief under the CLRA for all violations
                                    2   complained of herein, including, but not limited to, damages, punitive damages,
                                    3   attorneys’ fees and cost and any other relief that the Court deems proper.
                                    4         352. Accordingly, Plaintiff and the other Class Members seek an order
                                    5   enjoining the acts and practices described above.
                                    6         353. Pursuant to § 1780(d) of the CLRA, attached hereto as Exhibit H is the
                                    7   affidavit showing that this action has been commenced in the proper forum.
                                    8                                            COUNT 6
                                    9                Violation of California’s Unfair Competition Law (“UCL”)
                                   10                             (Cal. Bus. & Prof. Code § 17200, et seq.)
                                   11         354.     Plaintiff incorporates by reference each preceding paragraph as though
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                                   12   fully set forth herein.
                                   13         355. Plaintiff brings this claim on behalf of himself and the other members of
                                   14   the Class who purchased or leased Class Vehicles in states with state consumer laws
                                   15   that are similar to California’s Unfair Competition Law (the “UCL”) as applied to the
                                   16   facts of this case, or, in the alternative, on behalf of members of the Class who
                                   17   purchased, leased, or owned the Class Vehicles in the state of California.
                                   18         356. As a result of their reliance on Defendants’ omissions and/or
                                   19   misrepresentations, owners and lessees of the Class Vehicles suffered an ascertainable
                                   20   loss of money, property, and/or value in connection with the purchase or lease of their
                                   21   Class Vehicles. Additionally, as a result of the Engine Defect, Plaintiff and members
                                   22   of the Class were harmed and suffered actual damages in that the Class Vehicles are
                                   23   substantially certain to fail before their expected useful life has run.
                                   24         357. California Business & Professions Code Section 17200 prohibits acts of
                                   25   “unfair competition,” including any “unlawful, unfair or fraudulent business act or
                                   26   practice” and “unfair, deceptive, untrue or misleading advertising.
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                                    1         358. Defendants knew that the Class Vehicles’ Engines suffered from an
                                    2   inherent defect, were defectively designed and/or manufactured, would fail
                                    3   prematurely, and were not suitable for their intended use.
                                    4         359. In failing to disclose the Engine Defect, Defendants knowingly and
                                    5   intentionally concealed material facts and breached their duty not to do so, thereby
                                    6   engaging in a fraudulent business act or practice within the meaning of the UCL.
                                    7         360. Defendants were under a duty to Plaintiff and the other members of the
                                    8   Class to disclose the defective nature of the Class Vehicles’ Engines because: a)
                                    9   Defendants were in a superior position to know the true state of facts about the safety
                                   10   defect in the Class Vehicles’ Engines; b) Defendants made partial disclosures about
                                   11   the quality of the Class Vehicles without revealing the defective nature of the Class
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                                   12   Vehicles’ Engines; and c) Defendants actively concealed the defective nature of the
                                   13   Class Vehicles’ Engines from Plaintiff and the other Class Members at the time of
                                   14   sale/lease and thereafter.
                                   15         361. The facts concealed or not disclosed by Defendants to Plaintiff and the
                                   16   other Class Members are material because a reasonable person would have considered
                                   17   them to be important in deciding whether to purchase or lease Defendants’ Class
                                   18   Vehicles, or to pay less for them. Had Plaintiff and the other Class Members known
                                   19   that the Class Vehicles suffered from the Engine Defect described herein, they would
                                   20   not have purchased or leased the Class Vehicles or would have paid less for them.
                                   21         362. Defendants continue to conceal the defective nature of the Class
                                   22   Vehicles and their Engines even after Plaintiff and the other Class Members began to
                                   23   report problems. Indeed, Defendants continue to cover up and conceal the true nature
                                   24   of this systematic problem today.
                                   25         363. Defendants’ omissions of material facts, as set forth herein, also
                                   26   constitute “unfair” business acts and practices within the meaning of the UCL, in that
                                   27   Defendants’ conduct was injurious to consumers, offended public policy, and was
                                   28   unethical and unscrupulous. Plaintiff also asserts a violation of public policy arising
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                                    1   from Defendants’ withholding of material safety facts from consumers. Defendants’
                                    2   violation of consumer protection and unfair competition laws resulted in harm to
                                    3   consumers.
                                    4         364. Defendants’ omissions of material facts, as set forth herein, also
                                    5   constitute unlawful business acts or practices because they violate consumer
                                    6   protection laws, warranty laws and the common law as set forth herein.
                                    7         365. Defendants’ acts, conduct, and practices were fraudulent, in that they
                                    8   constituted business practices and acts that were likely to deceive reasonable members
                                    9   of the public. Defendants’ acts, conduct, and practices were fraudulent because they
                                   10   are immoral, unethical, oppressive, unscrupulous, and/or are substantially injurious to
                                   11   consumers.
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                                   12         366. Defendants’ acts, conduct, and practices were unfair in that they
                                   13   constituted business practices and acts the utility of which does not outweigh the harm
                                   14   to consumers. Defendants’ business acts and practices were further unfair in that they
                                   15   offend established public policy, are immoral, unethical, oppressive, unscrupulous,
                                   16   and substantially injurious to consumers.
                                   17         367. A business practice is unlawful if it is forbidden by any law. Defendants’
                                   18   acts, conduct, and practices were unlawful, in that they constituted:
                                   19                   a. Violations of the California Consumers Legal Remedies Act;
                                   20                   b. Violations of the Song-Beverly Consumer Warranty Act;
                                   21                   c. Violations of the False Advertising Law;
                                   22                   d. Violations of Magnuson-Moss Consumer Warranty Act;
                                   23                   e. Violations of California Civil Code sections 1572, 1573, 1709,
                                   24                      1710 and 1711; and
                                   25                   f. Violations of the express and implied warranty provisions of
                                   26                      California Commercial Code sections 2313 and 2314.
                                   27         368. Thus, by their conduct, Defendants have engaged in unfair competition
                                   28   and unlawful, unfair, and fraudulent business practices.
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                                    1         369. Defendants’ unfair or deceptive acts or practices occurred repeatedly in
                                    2   Defendants’ trade or business and were capable of deceiving a substantial portion of
                                    3   the purchasing public.
                                    4         370. As described above in paragraphs 230-231, Defendants were provided
                                    5   pre-suit notice of the Engine Defect, and as such have been afforded a reasonable
                                    6   opportunity to cure their fraud and breach of written warranties. Any additional time
                                    7   to do so would be unnecessary and futile because Defendants have known of and
                                    8   concealed the Engine Defect and, on information and belief, have refused to repair or
                                    9   replace the Engines free of charge despite the Engine Defect’s existence at the time
                                   10   of sale or lease of the Class Vehicles.
                                   11         371. As a direct and proximate result of Defendants’ unfair and deceptive
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                                   12   practices, Plaintiff and the other Class Members have suffered and will continue to
                                   13   suffer actual damages.
                                   14         372. Defendants have been unjustly enriched and should be required to make
                                   15   restitution to Plaintiff and the other Class Members pursuant to sections 17203 and
                                   16   17204 of the California Business & Professions Code.
                                   17                                         COUNT 7
                                   18                                    Unjust Enrichment
                                   19         373. Plaintiff incorporates and realleges each preceding paragraph as though
                                   20   fully set forth herein.
                                   21         374. Plaintiff brings this count on behalf of himself and the other members of
                                   22   the Class.
                                   23         375. Plaintiff and the other members of the Class conferred a benefit on
                                   24   Defendants by leasing or purchasing the Class Vehicles. Defendants were and should
                                   25   have been reasonably expected to provide Class Vehicles free from the Engine Defect.
                                   26         376. Defendants unjustly profited from the lease and sale of the Class
                                   27   Vehicles at inflated prices as a result of their false representations, omissions, and
                                   28   concealment of the Engine Defect in the Class Vehicles.
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                                    1         377. As a proximate result of Defendants’ false representations, omissions,
                                    2   and concealment of the Engine Defect in the Class Vehicles, and as a result of
                                    3   Defendants’ ill-gotten gains, benefits and profits, Defendants have been unjustly
                                    4   enriched at the expense of Plaintiff and the other Class Members. It would be
                                    5   inequitable for Defendants to retain their ill-gotten profits without paying the value
                                    6   thereof to Plaintiff and the other Class Members.
                                    7         378. There is a direct relationship between Defendants on the one hand, and
                                    8   Plaintiff and the other Class Members on the other, sufficient to support a claim for
                                    9   unjust enrichment. Defendants, acting in concert, failed to disclose the Engine Defect
                                   10   to improve retail sales, which in turn improved wholesale sales. Conversely,
                                   11   Defendants knew that disclosure of the Engine Defect would suppress retail and
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                                   12   wholesale sales of the Class Vehicles, suppress leasing of the Class Vehicles, and
                                   13   would negatively impact the reputation of Defendants’ brand among Plaintiff and the
                                   14   other Class Members. Defendants also knew their concealment and suppression of the
                                   15   Engine Defect would discourage Plaintiffs and the other Class Members from seeking
                                   16   replacement or repair concerning the Engine Defect, thereby increasing profits and/or
                                   17   avoiding the cost of such replacement or repairs.
                                   18         379. Plaintiff and the other Class Members are entitled to restitution of the
                                   19   amount of Defendants’ ill-gotten gains, benefits and profits, including interest,
                                   20   resulting from their unlawful, unjust and inequitable conduct.
                                   21         380. Plaintiff and the other Class Members seek an order requiring
                                   22   Defendants to disgorge their gains and profits to Plaintiff and the other Class
                                   23   Members, together with interest, in a manner to be determined by the Court.
                                   24                                PRAYER FOR RELIEF
                                   25         WHEREFORE, Plaintiff, individually and on behalf of the other Class
                                   26   members, respectfully request that the Court enter judgment in their favor and against
                                   27   Defendants Honda Motor Company Limited and American Honda Motor Co., Inc.,
                                   28   as follows:
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                                    1         A.     An order certifying the proposed Classes and designating the named
                                    2   Plaintiff as the named representative of the Classes and designating the undersigned
                                    3   as Class Counsel for the Class;
                                    4         B.     A declaration that the engines and/or related components in Class
                                    5   Vehicles are defective;
                                    6         C.     A declaration that Honda is financially responsible for notifying all Class
                                    7   Members about the defective nature of the Class Vehicles;
                                    8         D.     An order enjoining Honda to desist from further deceptive distribution,
                                    9   sales, and lease practices with respect to the Class Vehicles and directing Honda to
                                   10   permanently, expeditiously, and completely repair the Class Vehicles;
                                   11         E.     An award to Plaintiff and Class Members of compensatory, exemplary,
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                                   12   and statutory penalties, damages, including interest, including overpayment and
                                   13   diminution in value damages, and punitive damages, in an amount to be proven at
                                   14   trial, as well as other damages available at law;
                                   15         F.     An award to Plaintiff and Class Members for the return of the purchase
                                   16   or lease price of the Class Vehicles, with interest from the time it was paid, the
                                   17   reimbursement of the reasonable expenses occasioned by the sale or lease, and
                                   18   damages;
                                   19         G.     A Defendant-funded program, using transparent, consistent, and
                                   20   reasonable protocols, under which out-of-pocket expenses and damages claims
                                   21   associated with the Engine Defect in Plaintiff’s and Class Members’ Class Vehicles,
                                   22   can be made and paid, such that Honda, not the Class Members, absorb the losses and
                                   23   expenses fairly traceable to the recall of the vehicles and correction of the Defect;
                                   24         H.     A declaration that Honda must disgorge, for the benefit of Plaintiff and
                                   25   Class Members, all or part of the ill-gotten profits they received from the sale or lease
                                   26   of the Class Vehicles, or make full restitution to Plaintiff and Class Members;
                                   27         I.     An award of attorneys’ fees and costs, as allowed by law;
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                                    1          J.    An award of pre-judgment and post-judgment interest, as provided by
                                    2   law;
                                    3          K.    Leave to amend this Complaint to conform to the evidence produced at
                                    4   trial; and
                                    5          L.    Such other relief as may be appropriate under the circumstances.
                                    6                              DEMAND FOR JURY TRIAL
                                    7          Plaintiff hereby demands a trial by jury on all claims so triable.
                                    8                                            Respectfully submitted,
                                    9   Dated: December 6, 2024                   BLOOD HURST & O’REARDON, LLP
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                                   10                                             THOMAS J. O’REARDON II (247952)
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